Physicians for Human Rights


“Excited Delirium” and
 Deaths in Police Custody
The Deadly Impact of a Baseless Diagnosis
March 2022
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8     Background
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Executive Summary
On December 23, 2020, Bella Quinto-Collins called 911, seeking help for her 30-
year-old brother, Angelo Quinto, who was agitated and exhibiting signs of a
mental health crisis at their home in Antioch, California. When two police officers
arrived, they pulled Quinto from his mother’s arms onto the floor. At least twice,
Quinto’s mother, Cassandra Quinto-Collins, heard him say to the officers, “Please
don’t kill me.” Bella and Cassandra then watched in disbelief and horror as the
two officers knelt on Quinto’s back for five minutes until he stopped breathing.
Three days later, Quinto died in the hospital.1

It was not until August 2021 that the family learned the official determination of
cause of death: a forensic pathologist testified during a coroner’s inquest that
Quinto died from “excited delirium syndrome.”2

Angelo Quinto, a Filipino-American Navy veteran, is one of many people,
disproportionately people of color, whose deaths at the hands of police have been
attributed to “excited delirium” rather than to the conduct of law enforcement
officers. In recent years, others have included Manuel Ellis, Zachary Bear Heels,
Elijah McClain, Natasha McKenna, and Daniel Prude.3 “Excited delirium” even
emerged as a defense for the officers who killed George Floyd in 2020.4

An Austin-American Statesman investigation into each non-shooting death of a
person in police custody in Texas from 2005 to 2017 found that more than one in
six of these deaths (of 289 total) were attributed to “excited delirium.”5 A January
2020 Florida Today report found that of 85 deaths attributed to “excited
delirium” by Florida medical examiners since 2010, at least 62 percent involved
the use of force by law enforcement.6 A Berkeley professor of law and bioethics




Mourners at a birthday vigil for Angelo Quinto, who was killed by police in California in December 2020. His
death was attributed to “excited delirium syndrome.”
Photo: Courtesy of the Quinto-Collins family



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                                        The term “excited delirium”
                                        cannot be disentangled from its
                                        racist and unscientific origins.

conducted a search of these two news databases and three others from 2010 to
2020 and found that of 166 reported deaths in police custody from possible
“excited delirium,” Black people made up 43.3 percent and Black and Latinx
people together made up at least 56 percent.7

When did the term “excited delirium” evolve to describe a distinct type of
“delirium?" How did the corresponding term “excited delirium syndrome”
become a go-to diagnosis for medical examiners and coroners to use in
explaining deaths in police custody? What is the evidence that it is indeed a valid
diagnosis? This report traces the evolution of the term from when it appears to
have first been coined in the 1980s to the present. Physicians for Human Rights
(PHR) reconstructed the history of the term “excited delirium” through a review
of the medical literature, news archives, and deposition transcripts of expert
witnesses in wrongful death cases. We evaluated current views and applications
of the term through interviews with 20 medical and legal experts on deaths in law
enforcement custody. Additionally, we spoke to six experts on severe mental
illness and substance use disorders to better understand the context in which the
term most often arises. Finally, we interviewed members of two families who lost
loved ones to police violence for a firsthand account of the harms of the term’s
continued use.

This report concludes that the term “excited delirium” cannot be disentangled
from its racist and unscientific origins. Dr. Charles Wetli, who first coined the
term with Dr. David Fishbain in case reports on cocaine intoxication in 1981 and
1985,8 soon after extended his theory to explain how more than 12 Black women
in Miami, who were presumed sex workers, died after consuming small amounts
of cocaine.9 “For some reason the male of the species becomes psychotic and the
female of the species dies in relation to sex,” he postulated.10 As to why all the
women dying were Black, he further speculated, without any scientific basis, “We
might find out that cocaine in combination with a certain (blood) type (more
common in blacks) is lethal.”11

After a 14-year-old girl was found dead in similar circumstances but without any
cocaine in her system, Wetli’s supervisor, chief medical examiner Dr. Joseph
Davis, reviewed the case files.12 Davis concluded that all of the women – 19 by
that point – had actually been murdered, pointing to evidence of asphyxiation in
many of the cases.13 Investigators eventually came to hold a serial killer
responsible for the murders of as many as 32 women from 1980 to 1989.14

The year after the suspected killer’s arrest, Wetli continued to assert that at least
some of the women had died from a combination of sex and cocaine: “I have
trouble accepting that you can kill someone without a struggle when they’re on



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                            It seems that “excited delirium” as a diagnosis and
                            standalone cause of death was originally brought
                            about by one or a few people’s subjective
                            opinions…. It is not a valid, independent medical
                            or psychiatric diagnosis. There is no clear or
                            consistent definition, established etiology, or
                            known underlying pathophysiology.

cocaine … cocaine is a stimulant. And these girls were streetwise.”15 He also
continued to promote a corresponding theory of Black male death from cocaine-
related delirium, without any scientific basis: “Seventy percent of people dying of
coke-induced delirium are black males, even though most users are white. Why?
It may be genetic.”16

Wetli’s grave mischaracterization of the murders of Black women in Miami – and
the racism and misogyny that seemed to inform it – should have discredited his
other equally racialized and gendered theory of sudden death from cocaine.
Instead, the use of the term “excited delirium” grew.

A small cohort of authors, many working as researchers or legal defense experts
for TASER International (now Axon Enterprise) – a U.S. company that produces
technology products and weapons, including the “Taser” line of electroshock
weapons marketed as so-called “less-lethal” “stun” weapons – increased the
broader use of the term by populating the medical literature with articles about
“excited delirium.” In 2007, TASER/Axon purchased many copies of a book
entitled Excited Delirium Syndrome written by one of its defense experts, Dr.
Vincent Di Maio, and his wife Theresa Di Maio, that built on Wetli’s description
of “excited delirium” by describing an “excited delirium syndrome.”17 They
distributed the book for free and also gave out other materials on “excited
delirium” at conferences of medical examiners and police chiefs.18 Seven years
later, during a deposition, Dr. Di Maio acknowledged that he and his wife had
“come up with” the term “excited delirium syndrome.”19 The term has come to be
used as a catch-all for deaths occurring in the context of law enforcement
restraint, often coinciding with substance use or mental illness, and
disproportionately used to explain the deaths of young Black men in police
encounters.20

PHR’s review leads to the conclusion that “excited delirium” is not a valid,
independent medical or psychiatric diagnosis. There is no clear or consistent
definition, established etiology, or known underlying pathophysiology. There are
no diagnostic standards, and it is not included as a diagnosis in any version of the
International Classification of Diseases, the international standard for reporting
diseases and health conditions, currently in its tenth revision (ICD-10), or in the
Diagnostic and Statistical Manual of Mental Disorders (DSM-5) criteria for
psychiatric illness. Neither the American Medical Association nor the American


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Psychiatric Association currently recognize the validity of the diagnosis. In
general, there is a lack of scientific data, and the body of literature supporting the
diagnosis is small and of poor quality, with homogenous citations rife with
conflicts of interest.

The foundations underpinning the diagnosis of “excited delirium” have been
misrepresented, misquoted, and distorted. The ICD-10 and DSM-5 acknowledge
delirium and its subtypes as valid, but these do not align with purported criteria
for “excited delirium” and are described as stemming from underlying causes. It
seems that “excited delirium” as a diagnosis and standalone cause of death was
originally brought about by one or a few people’s subjective opinions. The term
has since taken on a meaning and life of its own, with a deleterious impact.

In our interviews with clinicians and scientists across disciplines, there was no
consensus on the definition of “excited delirium.” A review of the medical
literature further confirms that the syndrome is not well defined or understood.
The term is therefore scientifically meaningless because of this lack of consensus
or rigorous evidentiary basis. Many of the studies that have been used to support
the diagnosis have serious methodological deficiencies and are laden with
conflicts of interest with law enforcement and TASER/Axon. Moreover, the use of
“excited delirium” to explain agitated behavior raises the concern that underlying
causes of these behaviors, such as a mental illness or substance intoxication, are
not being diagnosed or treated. Most significantly, it is disturbing that “excited
delirium” as a diagnosis has been used to justify aggressive and even fatal police
tactics.




Police in Aurora, CO face off with demonstrators protesting the killing of Elijah McClain. McClain was forcibly
subdued by Aurora police while walking home and injected with ketamine by paramedics who diagnosed him
with “excited delirium.” McClain suffered a heart attack on the way to the hospital and died four days later.
Photo: Andy Cross/MediaNews Group/Denver Post via Getty Images




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                             The term has come to be used as a catch-all
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                             used to explain the deaths of young Black men
                             in police encounters.

It is also concerning that “excited delirium” has come to pervade law enforcement
policies and training manuals, at least in part due to the continued acceptance of
the term by the American College of Emergency Physicians (ACEP) and National
Association of Medical Examiners (NAME). Officers in many law enforcement
agencies are trained to respond to an array of medical emergencies as “excited
delirium,” which in practice have included conditions that may not all warrant
the same medical response, including heart attacks, drug or substance overdoses
or withdrawals, acute psychosis, and oxygen deprivation. “Excited delirium” has
also gained international reach, having received attention in the wake of in-
custody deaths in Australia, Canada, and the United Kingdom, among other
countries.21

The diagnosis of “excited delirium” has come to rest on racist tropes of Black men
and other people of color as having “superhuman strength” and being
“impervious to pain,” while pathologizing resistance to law enforcement, which
may be an expected or unsurprising reaction of a scared or ill individual (or
anyone who is being restrained in a position that inhibits breathing). Presently,
there is no rigorous scientific research that examines prevalence of death for
people with “excited delirium” who are not physically restrained.

People who present with symptoms and signs such as agitation, confusion, fear,
hyperactivity, acute psychosis, sweats, noncompliance with directions,
tachycardia (rapid heart rate), and tachypnea (rapid breathing), which are too
often classified by medical examiners and coroners as “excited delirium,” must be
recognized as having an underlying diagnosis. The specific underlying condition
should be identified and treated. Too often, law enforcement officers are called as
the sole first responders to medical emergencies and then use violent methods to
forcibly restrain people manifesting these signs, methods – such as those that
induce asphyxia from prone and other forms of restraint – that themselves may
cause death. Consequently, “excited delirium,” rather than law enforcement
actions, is cited as the cause of death, or as a factor contributing to death, in
autopsy reports.

PHR holds that “excited delirium” is a descriptive term of myriad symptoms and
signs, not a medical diagnosis, and, as such, should not be cited as a cause of
death. It is essential to end the use of “excited delirium” as an officially
determined cause of death, particularly in cases of deaths in police custody. This
is one critical step among many to stop these preventable deaths.




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Key Recommendations
To the American College of Emergency Physicians
(ACEP) and National Association of Medical Examiners
(NAME):
    •   Issue statements clarifying that “excited delirium” is not a valid medical
        diagnosis and cannot be a cause of death.


To State and Local Governments:
    •   Improve official responses to people experiencing mental and behavioral
        health challenges, including by bolstering social services and investing in
        alternative models of crisis response led by health professionals and/or
        social workers.
    •   Establish independent oversight systems and mandate independent
        investigations of deaths in law enforcement custody.


To Congress:
    •   Exercise Congress’s oversight authority to investigate the use of “excited
        delirium” in various jurisdictions across the United States in the context
        of deaths in police custody, systemic racism, and the pursuit of justice and
        accountability.




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Introduction
As Minneapolis police officer Derek Chauvin knelt on George Floyd’s neck in May
2020, fellow officer Thomas Lane said, “Roll him on his side?... I just worry about
the excited delirium or whatever.” Officer Lane’s comment in the midst of George
Floyd’s murder is indicative of the extent to which the concept of “excited
delirium” has come to pervade U.S. law enforcement training and practice.

This report traces how “excited delirium” has evolved from a description in case
reports of people with cocaine intoxication into a term that is used by law
enforcement, forensic pathologists, emergency physicians, and in courts. Others
have already described the troubled history of “excited delirium.”22 Yet since the
term persists, this report reviews the origins, history, medical literature, and
views of experts and affected family members in order to evaluate the underlying
validity of the diagnosis.



Background
In the United States, people of color are far more likely than white people to be
killed by police.23 The American Medical Association, American Public Health
Association, National Medical Association, and many other groups recognize this
as a public health crisis.24 In addition, a significant percentage of police killings –
anywhere from 25 to 50 percent – occur while responding to mental health,
behavioral health, or substance use disorder crises.25

The in-custody killing of George Floyd by Minneapolis police in May 2020 ignited
an unprecedented wave of national and global demonstrations in support of the
Black Lives Matter movement and against police brutality and systemic racism
across many areas of law enforcement. Protesters called for accountability for
police killings and reforms, with many urging the reallocation of funding from
law enforcement to social and community services, including mental health
services. Protesters also drew attention to the ways in which certain health
emergencies all too often receive a law enforcement rather than a medical
response, which can result in serious harm or death.



                       A significant percentage of police killings – anywhere
                       from 25 to 50 percent – occur while responding to
                       mental health, behavioral health, or substance use
                       disorder crises.




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In Many Areas, the United States Lacks
Appropriate Systems to Respond to Mental and
Behavioral Health Crises
In 2020, the Substance Abuse and Mental Health Services Administration
(SAMHSA), a branch of the U.S. Department of Health and Human Services,
reported that more than one in every five American adults (21 percent)
experienced a mental illness.26 Additionally, in 2020, more than one in every 20
adults (5.6 percent) experienced a serious mental health condition, such as
schizophrenia or bipolar disorder.27 Both of these estimates were higher than
annual estimates from 2008 through 2019.28

Despite the increasing prevalence of mental health conditions in the United
States, there remains a lack of appropriate emergency response systems for
people in crisis. Moreover, the deinstitutionalization movement, beginning in the
1950s, left many people with severe mental illness with neither proper treatment
nor resources. This has led to a number of people finding themselves homeless or
in contact with the carceral system rather than appropriate treatment.29 The
norm when someone is experiencing a mental health crisis is to call emergency
services through 911, where, in most jurisdictions, the police often respond. Using
armed police as first responders in these cases can result in an escalation of the
situation while criminalizing or further endangering the person in crisis.
Introducing people with mental illness in crisis first to the carceral system by
proxy of a police officer, instead of a trained mental health counselor or clinician,
can and has led to deaths at the hands of law enforcement.30 A 2015 report by the
Treatment Advocacy Center found that people with untreated mental illness are
16 times more likely to be killed during a law enforcement encounter than other
civilians.31

In a 2021 report, the Office of the United Nations High Commissioner for Human
Rights (OHCHR) observed that law enforcement officers frequently violate the
rights of Black people experiencing mental health crises to protection from
discrimination on the basis of both race and disability. OHCHR reviewed more
than 190 reports of deaths of Black people in law enforcement custody
worldwide, including in the United States, finding that one of the three contexts
that accounted for 85 percent of the cases that occurred was “the intervention of
law enforcement officials as first responders in mental health crises.” The report
stated:

        “Several incidents analyzed by OHCHR occurred after calls to emergency
        services seeking assistance for a person experiencing a mental health
        crisis. According to the analysis, when acting as first responders, police
        interventions often aggravate the situation including due to the use of
        restraints, while crises de-escalation protocols may not provide for
        appropriate crisis support services. Further, police often fail to identify
        the victims as individuals in distress and in need of rights-based mental


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                 “When you’re dealing with severe mental illness, and
                 especially when you’re a Black family or a brown family,
                 you pause before you call the police.”
                 Sabah Muhammad, attorney and legislative and policy
                 counsel, Treatment Advocacy Center

        health support. Instead, racial bias and stereotypes compounded with
        disability-based stereotypes appear to lead law enforcement officials to
        perceive the victim as “dangerous”, overriding considerations of the
        individual’s safety and well-being and of delivery of the appropriate care
        and basic life support.”32



Standards for Death Investigations in the United
States Vary by Jurisdiction
In the United States, official processes for investigating and establishing cause of
death vary by state and local jurisdiction. Each state has different requirements
for which kinds of deaths require investigations or autopsies.33 Death
investigation systems are highly variable, including both medical examiner
systems and coroner systems. In most systems, it is a coroner or medical
examiner’s responsibility to lead an investigation to determine the circumstances
of a person’s death in cases of homicide or when there is suspicion of crime or
foul play, including police violence.34 Coroners in most states do not have to be
physicians.35 Medical examiners are physicians but are not always forensic
pathologists. Forensic pathologists are physicians that specialize in pathology
(study of injured organs, tissues, and cells) and work at the intersection of law
and medicine to determine the cause of death. Twenty-three (23) states and
Washington, D.C. have appointed medical examiner and/or coroner systems, 11
states have elected coroners and appointed medical examiners, four states have a
combination of elected and appointed coroners, and 12 states have a combination
of elected and appointed medical examiners.36Although there is a lack of national
standards and of a universal definition, the consensus for defining deaths in
custody is “deaths of persons who have been arrested or otherwise detained” by
law enforcement officials.37

In 2009, the National Academy of Sciences (NAS) recommended, “Congress
should authorize and appropriate incentive funds to the National Institute of
Forensic Science (NIFS) for allocation to states and jurisdictions to establish
medical examiner systems, with the goal of replacing and eventually eliminating
existing coroner systems.” NAS further held, “All medicolegal autopsies should be
performed or supervised by a board certified forensic pathologist.”38




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Law Enforcement-Related Deaths Are Under-
Counted
                      The age-adjusted mortality rate due to police
                      violence grew by 38.4 percent from the 1980s to the
                      2000s, and mortality rates due to police violence
                      were highest in non-Hispanic Black people.

There is strong evidence that deaths after or during interaction with law
enforcement are not always appropriately reported, monitored, or investigated. A
2017 Harvard study found that more than half of all police killings in 2015 were
incorrectly classified as not the result of police officer interactions.39 Coroners
and medical examiners were found to regularly report results that minimized the
accountability of police officers.40 The study compared data from The Guardian’s
“The Counted,”41 an investigative project on police killings, to data from the
National Vital Statistics System (NVSS), a U.S. federal government system that
gathers death certificate data, identifies law enforcement-related deaths, and
assigns a corresponding diagnostic code: “legal intervention.”42 This same study
found that there were significantly more law enforcement-related deaths in The
Guardian’s data set compared to the NVSS. They further discovered that the
NVSS had misclassified 55.2 percent of all police killings, and that deaths in low-
income areas were disproportionately underreported.43




                                                                         Black Lives Matter
                                                                         protesters march
                                                                         across the Brooklyn
                                                                         Bridge in New York
                                                                         City on May 25,
                                                                         2021, on the first
                                                                         anniversary of
                                                                         George Floyd’s
                                                                         death at the hands
                                                                         of police.
                                                                         Photo: Andy
                                                                         Cross/Spencer
                                                                         Platt/Getty Images



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Similarly, a 2021 Lancet study compared data from the NVSS to “The Counted”
and two other media-based databases on police violence, “Fatal Encounters” and
“Mapping Police Violence.” The results showed that the NVSS failed to report
“55.5 percent of all deaths attributable to police violence,” missing about 17,100
deaths from 1980 to 2019.44 The study also found that the age-adjusted mortality
rate due to police violence grew by 38.4 percent from the 1980s to the 2000s, and
mortality rates due to police violence were highest in non-Hispanic Black people,
followed by Hispanic people of any race, non-Hispanic white people, and finally
non-Hispanic people of other races.45


System Flaws and the Ability to Manipulate the
Reporting System Contribute to Under-Counting
of Law Enforcement-Related Deaths
Several factors contribute to under-counting of law enforcement-related deaths.
One oft-cited reason is the lack of independence of coroners and medical
examiners. In a 2011 survey of National Association of Medical Examiners
(NAME) members, 22 percent reported experiencing political pressure from
elected or appointed officials to change the cause or manner of death listed on
death certificates.46 Conflicts of interest built into many systems include having
medical examiners and coroners work for or be part of police departments. 47 A
second contributor to under-counting is the lack of well-established standards
and guidelines. There are no standards or explicit instructions to note whether
there was police involvement in many death certificates’ open-ended sections to
“describe how the injury occurred,” or to assure correct coding that there was law
enforcement involvement, even if the certificate notes police involvement.
Moreover, lack of standards to ensure sufficient knowledge and training of
coroners and medical examiners further contributes to errors in classification.
For example, some medical examiners face difficulty in having to determine
whether a restraint case, such as a “hog-tying incident,” should be classified as
“homicide,” “accident,” or “undetermined.” There is no national definition on
manner of death for these police custody killings.48 Lastly, fear of litigation

                         In a 2011 survey of National Association of
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                         reported experiencing political pressure from
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                         or manner of death listed on death certificates. In
                         another survey, 13.5 percent acknowledged
                         modifying their forensic findings because of
                         previous threats of litigation, and 32.5 percent
                         revealed that these considerations would impact
                         their decisions in the future.


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resulting from problematic conduct also influences accurate documentation. In
another NAME survey with 222 medical examiner respondents, 13.5 percent
acknowledged modifying their forensic findings because of previous threats of
litigation, and approximately 32.5 percent revealed that these considerations
would impact their decisions in the future.49 Thirty (30) percent expressed that
“fear of litigation affected their diagnostic decision-making.”50 In this way, a lack
of standards is compounded by a lack of independence of forensic scientists to act
without undue pressure from law enforcement or political officials.


        In 2002, the National Association of Medical Examiners (NAME)
        published its first edition guide for manner of death classification; it notes
        that its guide is not a standard and that death certification requires
        judgment on a case-by-case basis.51 It elaborates that manner of death
        (i.e., determination of how an injury or disease leads to death, such as
        natural, accident, suicide, homicide, or undetermined) is “circumstance-
        dependent, not autopsy-dependent.”52 This guide outlines important
        general principles and definitions:

                “Natural deaths are due solely or nearly totally to disease and/or
                the aging process. Accident applies when an injury or poisoning
                causes death and there is little or no evidence that the injury or
                poisoning occurred with intent to harm or cause death. Homicide
                occurs when death results from a volitional act committed by
                another person to cause fear, harm, or death. Intent to cause
                death is a common element but is not required for classification as
                homicide…. Undetermined or “could not be determined” is a
                classification used when the information pointing to one manner of
                death is no more compelling than one or more other competing
                manners of death in thorough consideration of all available
                information. In general, when death involves a combination of
                natural processes and external factors such as injury or poisoning,
                preference is given to the non-natural manner of death.”

        The “but-for” logic is often used as a simple way to determine whether a
        death should be classified as natural or non-natural.53 “But-for the injury
        (or hostile environment), would the person have died when [they] did?”
        The guide elaborates that “the manner of death is unnatural when injury
        hastened the death of one already vulnerable to significant or even life-
        threatening disease.” In this guide, the authors call for greater national
        consistency in death certification.

        In 2017, NAME published a position paper with recommendations for the
        investigation and reporting of deaths in police custody. In summary, the
        association calls for an investigation into the facts and circumstances of
        these deaths, and notes that the investigation has the potential to prevent




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        similar future deaths and provide educational benefits.54 The report
        elaborates on cause of death and manner of death:

                “This committee recommends that the physician consider
                homicide as the manner of death in cases similar to those that
                would otherwise meet the threshold of ‘death at the hands of
                another.’ While the cause and manner of death designation should
                be handled the same as any other, the certifying
                physician/professional should fully utilize the ‘How Injury
                Occurred’ section of the death certificate to communicate that the
                death occurred in custody. For example, wording such as ‘Shot by
                Law Enforcement’, ‘Driver of Motor Vehicle in Collision with Fixed
                Object during Pursuit by Law Enforcement’, ‘Shot Self in the
                Presence of Law Enforcement’, ‘Hanged Self while Incarcerated’,
                or ‘During Restraint by Law Enforcement’ should be included.”



Methodology
Physicians for Human Rights (PHR) sought to understand the complex origins,
history, current usage, and validity of “excited delirium” by pursuing multiple
strands of inquiry.


Documents
As part of PHR’s work to systematically document the origins, history, and
evolution of the term and concept of “excited delirium,” PHR partnered with civil
rights attorney Julia Sherwin, who, through nearly two decades of work, has
compiled an extensive library of news archives, deposition transcripts, court
documents, and articles related to the origins and history of “excited delirium.”
PHR obtained additional deposition transcripts and court documents from civil
rights attorneys John Burton and Ben Nisenbaum.


Medical Literature Review
To examine the extent and quality of evidence for “excited delirium” as a
diagnosis and potential cause of death, physician members of the PHR team
conducted a scoping review of and analyzed peer-reviewed medical literature.55
On August 19, 2021, PHR conducted a PubMed/MEDLINE search using the key
words “excited delirium” without filters. Two hundred twenty-six abstracts (226)
were found between the available date range of January 1956 and August 2021.
Titles and abstracts were screened for information on diagnostic criteria for
“excited delirium,” origins of the term, pathophysiology, and evidence for the
syndrome. If the abstract was not available or if the article was unclear after a
review of the abstract alone, a full review of the article was performed.



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Articles were excluded if they were not peer reviewed, not in English (due to a
lack of capacity to translate), or did not provide any of the following: 1) historical
information on the origins of “excited delirium;” 2) a definition or description of
“excited delirium,” which may have included pathology or pathophysiology; or 3)
a discussion of evidence for or against “excited delirium” as a distinct syndrome.
Articles were also excluded if they focused solely on a case report or series, drugs,
or treatment without significant discussion of “excited delirium” as an entity
itself. Of the 226 articles, 180 did not meet the above criteria and were excluded
from our analysis, leaving 46 peer-reviewed articles. A secondary search was
performed on the same database using the term “excited delirium syndrome,”
which yielded 95 results, all of which had already been captured in the primary
search. (Of note, alternate search terms were not employed, such as “Bell’s
mania,” “agitated delirium,” “positional asphyxia,” “restraint asphyxia,” “in-
custody deaths,” or “police use of force.”)

Between August 19, 2021 and October 20, 2021, PHR team members read and
abstracted articles that met inclusion criteria. To provide important context to
the 46 peer-reviewed articles, other literature, such as letters to the editor and
commentary, secondary references, consensus and position papers, and non-peer
reviewed material, were also considered and incorporated in this report when
germane.

To check for saturation and consistency, results were compared to a general
literature review performed in July 2021 by a different PHR team during the
concept design stage of this report. The references and conclusions of these two
independent literature reviews were complementary and consistent.


Interviews
In light of the continued use of “excited delirium” as a cause of death among
medical examiners and coroners, PHR explored the experiences and perspectives
of forensic pathologists and other medical and legal experts on deaths in custody.
After obtaining exemption from PHR’s Ethics Review Board, given the low risk to
interviewees, PHR conducted individual semi-structured interviews with 20
experts on deaths in police custody regarding their knowledge and perspective on
the use of “excited delirium” as a cause of death. The interviewees included nine
forensic pathologists (across the United States, Canada, Chile, and New Zealand,
one of whom also trained in Italy and Scotland), one forensic epidemiologist, two
emergency physicians, one surgeon who is also a certified medico-legal death
investigator, four plaintiff’s attorneys, two prosecutors, and one law enforcement
trainer.56 We used snowball sampling to connect with experts and continued
reaching out to prospective interviewees until we reached thematic saturation
(i.e., no new themes emerged during analysis of interview transcripts). Although
the focus of our research was the use of “excited delirium” as a cause of death in
the United States, we also interviewed forensic pathologists based outside the



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United States considering the global reach of the medical literature on “excited
delirium.”

In the interviews with physicians, we sought to identify areas of consensus and
ongoing discussion regarding “excited delirium” and to learn about their
introduction to the term and the evolution of their understanding. We
interviewed the attorneys to inform the report background and to seek their
views on the prevention of deaths in custody that are attributed to “excited
delirium.” PHR also held conversations geared toward preventing such deaths
with experts on mental health and substance use crisis response, including staff
at the Treatment Advocacy Center, National Harm Reduction Coalition, Crisis
Assistance Helping Out On The Streets (CAHOOTS), and Portland Street
Response.57

Finally, PHR received approval from PHR’s Ethics Review Board to interview
members of families who had lost loved ones to deaths in police custody in the
United States where “excited delirium” was designated by medical examiners as
the cause of death. We connected with civil rights attorneys who represent
families in wrongful death lawsuits against law enforcement officers and asked
the attorneys whether any of their clients were interested in speaking with us for
our report. Two families conveyed through their attorneys their interest in
speaking with PHR, and their attorneys were present for the subsequent
interviews.

All interviews took place via video or audio conferencing due to the SARS-CoV-2
public health emergency and wide geographical location of interviewees. All
participants gave verbal consent to the interview, and for the interview to be
recorded. Notes were also typed during the interviews.

Interviewees were informed of the purpose and voluntary nature of the interview.
They were told that they could stop the interview at any time and that all possible
measures would be taken to keep their identity confidential unless they wanted to
disclose it. They were given the option of remaining anonymous and using a
pseudonym in this report. Interviewees received no compensation for
participating in interviews. The interviewers used an interview guide, previously
agreed upon by the research team. Interview materials and transcripts were
stored securely on PHR computers. Team members reviewed the written notes
and transcripts to identify key themes across the interviews and pull illustrative
quotes.


Limitations
PHR’s interviews with forensic pathologists, emergency physicians, lawyers, and
others are not intended to be a representative sample of the field. Rather, we
sought to speak to experts both in the United States and internationally to gauge
areas of consensus and ongoing discussion regarding the continued use of
“excited delirium.”


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The medical literature review was not exhaustive and used one biomedical
literature database (PubMed/MEDLINE). Only “excited delirium” and “excited
delirium syndrome” were searched and may have not resulted in a
comprehensive selection of relevant articles. After articles meeting inclusion
criteria were identified and reviewed, a pragmatic research approach was
adopted: references of included articles were explored for context and history.



Findings
Origins and History
        Key Definitions

        A syndrome consists of a group of signs and symptoms that occur
        together and characterize a discrete abnormality or condition.58 The
        cause, pathophysiology, and/or course of a “syndrome” is often not
        clearly understood. Once medical science identifies a clear causative
        agent or underlying pathophysiologic process, the group of signs and
        symptoms are then referred to as a “disease.” What are considered
        diseases change over time as a result of advances in technology,
        diagnostic ability, and expert consensus determinations, among other
        factors. In psychiatry, maladaptive mental and behavioral disturbances
        that impair functioning are often referred to as disorders. There are well-
        defined criteria for diagnosing psychiatric disorders, even though some
        have criticized these criteria as unreliable.59

        The American Psychiatric Association’s Diagnostic and Statistical Manual
        of Mental Disorders, fifth edition (DSM-5) defines delirium as a
        neurocognitive disorder characterized by a “disturbance in attention and
        awareness that develops over a short period of time and is not better
        explained by another preexisting, evolving, or established disorder.”60
        Additional features may include hypo- or hyperactivity and emotional
        disturbances such as fear, agitation, or euphoria, as well as reduced
        awareness of the environment. The pathophysiology of delirium is poorly
        understood, but it is generally accepted as a sign of an underlying
        disease process, such as organ failure, infection, lack of oxygen,
        metabolic imbalance such as low blood sugar levels, drug side effects,
        intoxication, or withdrawal, among others. Delirium is medically treated by
        finding and treating the underlying cause, along with supportive
        behavioral modifications and medical care such as hydration,
        psychopharmaceuticals, and pain control.

        Restraints in the medical context are actively discouraged and avoided in
        the management of delirium, never include prone or neck restraints, and


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        are monitored by an independent medical oversight organization (the
        Joint Commission on Accreditation of Healthcare Organizations). Delirium
        is not itself considered a cause of sudden death.

Bell’s Mania
In 1849, Dr. Luther Bell, a Massachusetts physician at the McLean Asylum for the
Insane, described cases of primarily female psychiatric patients who experienced
symptoms and signs such as overactivity, delusions, transient hallucinations,
sleeplessness, and fevers, typically over days to weeks, and in some cases
resulting in death.61 This constellation of signs and symptoms has been called
Bell’s Mania, delirious mania, acute maniacal delirium, lethal catatonia, and,
later, chronic “excited delirium.”62 The Bell’s Mania description occurred long
before other diagnoses like schizophrenia,63 bipolar mania, or autoimmune
encephalitis were described in their current formulations, and the signs and
symptoms of Bell’s Mania are consistent with these diagnoses, among others. The
disappearance of case reports using these descriptions between the 1950s and
1980s has been attributed to the rise of relatively effective antipsychotic
medications and treatment and greater psychiatric diagnostic precision.64


Wetli and Fishbain
The introduction of the term “excited delirium” in the 1980s has been attributed
to Drs. David Fishbain and Charles Wetli. In the early 1980s, at the University of
Miami, Fishbain was director of psychiatric emergency services, and Wetli was a
forensic pathologist. In 1981, Wetli and Fishbain co-authored a case report of
cocaine intoxication in a person who swallowed packets of cocaine in order to
store them within their body, termed “bodypacker.”65 Wetli and Fishbain
described the resulting delirium as a medical emergency characterized by a
disturbance of attention with impaired perception. They characterized this “acute
excited delirium” as reversible, transient, and with an array of possible causes.
They elaborated that there are “two types of delirium: stuporous … and excited.”
Notably, they stated that the treatment of delirium is of the underlying illness and
concluded that the delirium presentation hides the “medical nature.”

In 1985, Wetli and Fishbain published a case series on cocaine-induced
psychosis.66 This series described seven cocaine users (six men and one woman)
who exhibited fear, panic, violent behavior, hyperactivity, hyperthermia, and/or
unexpected strength. All of them had been restrained (six by police, in some cases
with the assistance of bystanders, and one by emergency room staff) and all died
suddenly with respiratory arrest, with five of them reportedly dying in police
custody.




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 Case 1       “The police subsequently restrained his ankles and attached the ankle
              restraints and handcuffs together.”

 Case 2       “he was agitated and combative and had to be restrained.”

 Case 3       “With the aid of several police officers she was finally subdued; handcuffs and
              ankle restraints were applied and then attached to each other.”

 Case 4       “with the assistance of several bystanders, the victim was finally subdued.
              Handcuffs and ankle restraints were placed on the victim and were in turn
              tied together.”

 Case 5       “He was removed from the vehicle and his ankles were restrained as well. The
              ankle and handcuff restraints were then attached to each other.”

 Case 6       “He was finally apprehended but it took six police officers to restrain him. He
              was handcuffed, placed in a police vehicle, and kept under observation.”

 Case 7       “Three officers finally subdued the subject after a violent struggle during
              which the subject was struck twice in the head with a heavy flashlight. He was
              handcuffed behind his back and placed prone on the ground. He continued to
              thrash about for a period of time.”


Excerpts from Charles V. Wetli, and David A. Fishbain, 1985, “Cocaine-Induced Psychosis and Sudden Death
in Recreational Cocaine Users,” Journal of Forensic Sciences, 30, no. 3 (July): 873 – 880.



Autopsies did not reveal any “anatomic cause of death.” In this publication, Wetli
and Fishbain again described “excited delirium” as a “medical emergency but
with a psychiatric presentation” and noted that the “prognosis depends on the
underlying cause of the delirium.”

Four of the seven people had been either hog-tied (had their hands and feet
fastened together) or put into a hobble restraint (a nylon strip that ties a person’s
ankles together and links them to their wrists handcuffed behind their back) in a
prone position, which can impair breathing. Other than mentioning the prone
restraint in passing, Wetli and Fishbain did not discuss the role restraint may
have played in these victims’ deaths.

In both these 1981 and 1985 case reports, Wetli and Fishbain reference the
Comprehensive Textbook of Psychiatry, 3rd edition, chapter 20, pages 1359–
1392.67 This section was written by Dr. Zbigniew J. Lipowski. (PHR obtained the
same edition and reviewed these pages.) Wetli and Fishbain cite Lipowski when
defining delirium, including the description of a hyperactive and hypoactive
delirium: “There are two major types of delirium: stuporous (dull, lethargic,
hypoactive, mute, somnolent, and apathetic), and excited (thrashing, shouting,
hyperactive, fearful, panicky, agitated, hypervigilant, and violent).”68 Lipowski
does not use the term “excited delirium.” It is our conclusion that Wetli and
Fishbain initially used “excited” as an adjective to portray the hyperactive form of
delirium.


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A short time later, Wetli, as will be discussed below, began using “excited
delirium” as a cause of death, diagnosis, and unique disease. There is, however,
no indication in his writings that he had access to new scientific evidence
underpinning this change.


Serial Murders of Black Women in Miami
In the years that followed his publications on cocaine-induced “excited delirium,”
Wetli began to seek new applications of his theories in his work as deputy chief
medical examiner in Miami.

Between September 1986 and November 1988, 12 Black women who were
presumed sex workers were found dead, one after the other, in the same
geographic area of Miami.69 Wetli and several of his colleagues found that almost
all had low levels of cocaine in their systems and classified the majority of the
deaths as accidents from cocaine intoxication.70 On November 24, 1988, Wetli
began to publicize his theory that the women had died from combining sex with
cocaine use, claiming that autopsies had “conclusively” shown they had not been
murdered.71




Excerpt from Donna Gehrke, “Missed Calls, Close Calls Mar Serial Killings Case,” Miami Herald, April 26,
1990, page 1A. Highlighting added for emphasis. (Quote first published in Adrian Walker and Heather Dewar,
“Cocaine-Sex Deaths in Dade Probed,” Miami News, November 24, 1988.)


Wetli speculated that while the women were working as sex workers, they
consumed small amounts of cocaine and then died from sexual excitement, which
he described as the female manifestation of the “cocaine psychosis” he had
previously identified in men.72 “For some reason, the male of the species becomes
psychotic and the female of the species dies in relation to sex,” he said.73




 Excerpt from Donna Gehrke, “Missed Calls, Close Calls Mar Serial Killings Case,” Miami Herald, April 26,
 1990, page 1A. Highlighting added for emphasis. (Quote first published in Adrian Walker and Heather Dewar,
 “Cocaine-Sex Deaths in Dade Probed,” Miami News, November 24, 1988.)

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 Excerpt from deposition of Charles Wetli in Harrison v. County of Alameda, January 15, 2014. Courtesy of
 Julia Sherwin. Highlighting added for emphasis.



As to why all the women dying were Black, he further speculated, without any
scientific basis, “We might find out that cocaine in combination with a certain
(blood) type (more common in blacks) is lethal.”74

The following month, he said, “We know that the deaths are related to crack, but
we still don’t know the mechanism.”75

On December 12, 1988 – less than a month after Wetli began to publicize this
theory – 14-year-old Antoinette Burns was found dead.76 Wetli, who performed
the initial autopsy, believed that she, too, had died from a combination of sex and
cocaine use.77 For weeks, Burns’ family pushed back against this theory, but it
was not until the toxicology report came back negative that authorities began to
take them seriously.78

In March of 1989, police investigators confronted Wetli’s supervisor, chief
medical examiner Dr. Joseph Davis, with evidence they believed pointed to
homicide.79 Davis began to reexamine the case files.80 In May, a newsweekly
reported that the number of Black women found dead had reached at least 17.81
The article noted that Burns had died without cocaine in her system and cited
investigators’
                                  The article described Wetli’s sex-cocaine theory
                                  for women as the counterpart of his “excited
                                  delirium” theory about men. “The women may be
                                  dying after sexual activity,” Wetli said. “The men
                                  just go berserk.”




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beliefs that a serial killer was actually responsible for the women’s deaths.82
Burns’ mother told the paper, “I’m always wondering who killed her and how did
she die. I want justice to be served.”83

Wetli, meanwhile, continued to promote his theory that cocaine combined with
orgasm produced lethal results: “We still really don’t know what’s going on. My
gut feeling, though, is that this is a terminal event that follows chronic use of
crack cocaine affecting the nerve receptors in the brain. I think it’s a type of
neural exhaustion.”84 The article described Wetli’s sex-cocaine theory for women
as the counterpart of his “excited delirium” theory about men. “The women may
be dying after sexual activity,” Wetli said. “The men just go berserk.”85

Later that month, Davis announced his conclusion that the deaths of all of the
women – 19 by that point – were homicides.86 He reclassified the 14 that had
initially been ruled accidents or left unclassified.87 Only nine women’s bodies had
been found soon enough to identify concrete signs of strangulation and/or
asphyxiation.88 In those women’s cases, Davis found evidence of neck pressure in
seven and pressure to the mouth in four, as well as evidence of hemorrhaging in
the eyes.89 He noted that in some of the women’s cases, the signs of asphyxiation
were so pronounced that one could see them from “ten feet away, it’s that
clear.”90




Excerpt from the Metropolitan Dade County Medical Examiner Department’s amended investigation report for
a woman found dead in October 1987. Her death had been ruled a cocaine intoxication accident in November
1987; Davis changed it to “homicide by inspecified [sic] means” in June 1989. Courtesy of Julia Sherwin.



All but one of the women were believed to have the same killer.91 Police soon
identified Charles Henry Williams, a convicted rapist, as the primary suspect.92
Arrested in 1989 on an unrelated rape charge, he was eventually believed to be
responsible for the deaths of as many as 32 women since 1980.93 Later charged
with one of the murders, he died before he could stand trial.94

One year after Davis’s reclassification of the deaths as homicides, Wetli continued
to assert that at least some of the women had died from a combination of sex and
cocaine: “I have trouble accepting that you can kill someone without a struggle
when they’re on cocaine … cocaine is a stimulant. And these girls were
streetwise.”95




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Excerpt from Russ Rymer, “Murder Without a Trace,” In Health, May/June 1990, p.58. Highlighting added for
emphasis.


Wetli also continued to promote a corresponding theory of Black male death from
cocaine-related delirium, without any scientific basis: “Seventy percent of people
dying of coke-induced delirium are black males, even though most users are
white. Why? It may be genetic.” 96




Excerpt from Russ Rymer, “Murder Without a Trace,” In Health, May/June 1990, p.55-56. Highlighting added
for emphasis.



Wetli’s grave mischaracterization of the murders of Black women in Miami – and
the racism and misogyny that seemed to inform it – failed to discredit his other
equally racialized and gendered theory of sudden death from cocaine.97 Instead,
the use of the term “excited delirium” grew.


NAME Position Paper (2004)
More than a decade later, Wetli coauthored a 2004 National Association of
Medical Examiners (NAME) position paper that continued to link cocaine use to
“excited delirium.”98 That position paper, in a single reference, noted briefly “a
catecholamine-mediated excited delirium, similar to cocaine” that was “becoming
increasingly recognized and has been detected in patients with mental disorders
taking antidepressant medications, and in psychotic patients who have stopped
taking their medications.” It provided as a citation for this claim the abstract of a
presentation by Wetli.99 Yet, in discussing “sudden death related to police
actions,” the paper only discussed assessing the involvement of cocaine as a cause
of death and asserted that “other obvious causes of death must be carefully ruled



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out through a careful scene investigation, meticulous forensic autopsy, and a
review of the medical information.” The paper also delineated criteria for a
diagnosis of “cocaine-induced excited delirium,” requiring a “clinical history of
chronic cocaine use, typically bizarre and violent psychotic behavior, and the
presence of cocaine or its metabolites in body fluids or tissues.” It did not discuss
at all criteria for diagnosing “excited delirium” from causes other than cocaine
use.100

In its 2017 position paper on recommendations for the investigation and
reporting of deaths in police custody, NAME referenced “excited delirium” in
passing, noting, “the more difficult cases are those where the individual is
observed to be acting erratically due to a severe mental illness and/or acute drug
intoxication. These cases have been defined in the literature as excited delirium
and often result in a law enforcement response and restraint of the decedent.”101

Publication of Excited Delirium Syndrome
In 2005, Theresa Di Maio, a psychiatric nurse, and her husband, Dr. Vincent Di
Maio, a forensic pathologist who was serving as the chief medical examiner of
Bexar County, Texas and editor of the American Journal of Medicine and
Pathology, published a book on “excited delirium syndrome.”102 They defined
the term as “the sudden death of an individual during or following an episode of
excited delirium, in which an autopsy fails to … explain the death.”103 They
defined “excited delirium” as “delirium involving combative or violent behavior”
caused by “normal physiologic reactions of the body to stress gone awry.”104 The
Di Maios discussed the history and origins of “excited delirium” via summarized
case reports from primarily the 1930s and 1940s, in most cases describing
women in psychiatric institutions. In a 2014 deposition in a restraint death case,
Dr. Di Maio noted that he and his wife had coined the term “excited delirium
syndrome.”105


Prone Restraint Studies
At the same time that the Di Maios were promoting the concept of “excited
delirium syndrome,” others were conducting research on the safety of prone
restraint tactics. Among the studies most widely used to exonerate law
enforcement officials in cases of deaths in custody are those conducted by
emergency physicians Theodore Chan and Gary Vilke. Drs. Chan and Vilke are
part of what the New York Times in a December 26, 2021 investigative report
described as a “small but influential cadre of scientists, lawyers, physicians and
other police experts whose research and testimony is almost always used to
absolve officers of blame for deaths.”106 Forming a “cottage industry of
exoneration,” many of the dozen or so individuals in this group, including Chan
and Vilke, have ties with TASER/Axon and/or work as defense experts in death-
in-custody litigation.107




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In 1997, Chan and Vilke sought to determine whether the “hobble” or “hog-tie”
restraint position results in clinically relevant respiratory dysfunction. Fifteen
healthy volunteers – a small sample size with a questionable ability to generate
valid or reliable results – were hogtied. Measurements of lung function decreased
by up to 23 percent, which were statistically significant, but the authors deemed
them not clinically significant.108

In the early 2000s, Chan and Vilke conducted a study in which they placed 25
pounds and 50 pounds on the backs of 10 participants – again a very small
sample size – while they were in a prone position.109 They obtained Institutional
Review Board (“IRB”) approval from the University of California’s Human
Research Protection Program for this study.110

In 2001, Vilke served as a plaintiff’s expert in a restraint asphyxia case when a
man with schizophrenia in psychiatric crisis was restrained in a prone position
while officers put their weight on his back. At that time, in his deposition, Vilke
opined that the weighted restraint killed the decedent. In referring to his studies
involving the placement of 25 and 50 pounds on people’s backs, he stated that
these were preliminary studies only and seemed to suggest that experimenting
with greater weights would be unethical due to the possible danger. He noted,
“We don’t want to put 200 pounds on people and kill them.”111

After appearing in that case, Vilke took on work as a defense expert in several
wrongful death cases against TASER/Axon and law enforcement. Vilke
acknowledged in a 2018 deposition that he had worked as a defense expert on
behalf of TASER International in “certainly a number of cases” and said he
believed that whenever he had testified in cases involving the use of a Taser, he
had always testified on behalf of the defense. 112 Further evincing his defense
sympathies, Vilke even told a journalist in 2021 that it was “doubtful” that
Minneapolis police officer Derek Chauvin had killed George Floyd by pressing his
knee on his neck.113 The New York Times reported that in a deposition in summer
2021, “Dr. Vilke said it had been 20 years since he had last testified that an officer
was likely to have contributed to a death."114

Likewise, in a 2014 deposition, Chan acknowledged that he had been retained by
the defense in cases involving the use of a Taser “probably four or five times.”115

In 2007, Vilke and colleagues published an article titled “Ventilatory and
Metabolic Demands During Aggressive Physical Restraint in Healthy Adults,” in
which they put up to 225 pounds (102.3 kg) on the backs of 30 healthy adults who
were restrained in a “hogtie restraint” prone position, with 27 participants told to
“struggle vigorously” for 60 seconds.116 The authors found no clinically significant
impairments in breathing (ventilatory function) among participants who were
either prone or struggling. The authors reported that they received IRB approval
from San Diego State and the University of California San Diego (UCSD) Human
Research Protection Program for the study. However, repeated efforts by Julia
Sherwin to subpoena IRB materials related to this study produced no evidence of


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a completed IRB review or approval. This raises concerns about whether this
study that has since been used as evidence for the safety of prone restraint law
enforcement tactics ever passed the ethical and safety hurdles needed to obtain
IRB approval.117

In two recent restraint death cases handled by Julia Sherwin, the defendant
police officers hired Vilke to testify on their behalf.118 In both cases, Vilke testified
that the officers beating and restraining the decedents in a prone position,
putting weight on the victims’ backs, and even choking one decedent did not
cause or contribute to their deaths.119


Role of TASER
TASER/Axon is a U.S. company that develops technology products and weapons
for the military, law enforcement, and civilians, including “Taser,” a line of so-
called “less-lethal” electroshock “stun” weapons. In 2007, TASER purchased
1,000 to 1,500 copies120 of Di Maio’s book on “excited delirium syndrome” and
distributed free copies.121 They also gave out other materials on “excited
delirium” at conferences of medical examiners and police chiefs.122 Since there
are only about 500 full-time forensic pathologists in the United States,123 TASER
purchased enough copies of Di Maio’s book in 2007 alone to easily cover the
entire forensic pathology community, ensuring widespread familiarity with his
theory on “excited delirium syndrome.”124

Di Maio has acknowledged testifying as a paid expert for TASER/Axon multiple
times and stated in 2014 that in the cases in which he was deposed, he always
gave the opinion that the Taser did not cause or contribute to the person's
death.125

                 Since there are only about 500 full-time forensic pathologists
                 in the United States, TASER purchased enough copies of Di
                 Maio’s book in 2007 alone to easily cover the entire forensic
                 pathology community, ensuring widespread familiarity with his
                 theory on “excited delirium syndrome.”


American College of Emergency Physicians (ACEP) White
Paper
In 2005, TASER’s national litigation counsel,126 Michael Brave, co-founded a
corporation entitled the Institute for the Prevention of In-Custody Deaths
(IPICD) with another TASER defense expert and consultant,127 John Peters.128 In
October 2008, IPICD held its “3rd Annual Sudden Death, Excited Delirium & In-
Custody Death Conference.” IPICD advertised the conference as “the first
consensus conference that focuses upon excited delirium,” and promised that


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“attendees will help make law enforcement, medical, and legal history … focused
on arriving at a ‘consensus’ about excited delirium.” IPICD stated that the
“findings from this seminal event will then be published in leading medical, legal,
and law enforcement journals.”129

The conference speakers included TASER and/or restraint death defense experts
and consultants such as Chan, Di Maio, Vilke, and Wetli, as well as Dr. Steven
Karch130 and Dr. Deborah Mash.131 The results of the 2008 IPICD conference
were published as the “White Paper Report on Excited Delirium Syndrome” by
the American College of Emergency Physicians on September 10, 2009.132 The co-
authors of the white paper included Chan, Mash, and Vilke, as well as TASER’s
medical director, Dr. Jeffrey Ho.133 Despite the close links between the paper’s co-
authors and TASER, PHR has been unable to find conflict-of-interest statements
or disclosures in connection with the conference or the resulting white paper.

The White Paper Report acknowledges that the pathophysiology of “excited
delirium syndrome” is not understood, that there are no tests or standard
diagnostic criteria, and that the medical treatment for the “syndrome” is
unknown. Regarding the term “excited delirium,” the authors assert that the
“issue of semantics does not indicate that excited delirium does not exist” and
provide similar ICD-9 (International Classification of Diseases, Ninth Revision)
codes such as manic excitement, delirium of mixed origin, agitation, delirium,
and abnormal excitement which “describe the same entity as excited delirium
syndrome.” They fail to consider that if manic excitement, delirium of mixed
origin, agitation, and abnormal excitement (among other ICD-9 codes listed) are
the same entity as “excited delirium,” then “excited delirium” cannot be a unique
entity. Their Report also does not consider that the forms of delirium or manic
excitement in the ICD-9 are not considered lethal. The Diagnostic and Statistical
Manual of Mental Disorders (DSM-5), the main diagnostic tool used by
clinicians for psychiatric diagnosis, in fact, recognizes “delirium” as a clinical
entity, with “hyperactive,” “hypoactive,” and “mixed” delirium subtypes, but these
do not align with “excited delirium.” The Task Force elaborates: “In most cases,
the underlying disease will be untreated at the time of [excited delirium]
presentation,” which suggests that “excited delirium” is a presentation or
manifestation of another cause.134

The White Paper Report offers 10 specific features suggesting the presence of
“excited delirium” (pain tolerance, agitation, not responding to police presence,
superhuman strength, rapid breathing, not tiring despite heavy physical exertion,
naked/inappropriately clothed, sweating profusely, hot to the touch, and
attraction to/destruction of glass/reflective surfaces). However, it provides no
direct citations to the medical literature as to the origins or accuracy of these 10
features in predicting or diagnosing “excited delirium,” nor does it comment on
the validity of these features as a screening tool. The descriptions of certain
symptoms and signs also play into racist tropes that people of color possess
“superhuman strength” and are “impervious to pain.”135 This is doubly
concerning given that Wetli had asserted without evidence 18 years prior that 70


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percent of people who died of cocaine-induced delirium were Black men and that
“it may be genetic.”136

In 2011, the same group of authors published a reiteration of the White Paper
Report in the academic, peer-reviewed literature, titled, “Excited delirium
syndrome: defining based on a review of the literature.”137 Based on a review of 18
articles, 10 written by the paper’s authors, the authors again identified 10 features
of “excited delirium.”138 At no point did the authors discuss the lack of and
consequent need to develop and test screening tools for “excited delirium” that
are valid (able to accurately identify diseased and non-diseased individuals) or
reliable (repeat measurements yield the same result). They also provided no
statements of conflicts of interest or disclosures.




        A 2008 National Institute of Justice (NIJ) report defined “excited
        delirium” as a “State of extreme mental and physiological excitement,
        characterized by extreme agitation, hyperthermia, euphoria, hostility,
        exceptional strength and endurance without fatigue.” Of note, the report
        was written by the then director of the NIJ but included the disclaimer that
        “Findings and conclusions of the research reported here are those of the
        authors and do not reflect the official position and policies of their
        respective organizations or the U. S. Department of Justice.”139




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        The Death of Martin Harrison




                                                     Martin Harrison
                                                     Photo: Courtesy of the
                                                     Harrison family.


        On August 13, 2010, Martin Harrison was arrested for jaywalking in
        Oakland, California.140 A warrant check revealed an outstanding warrant
        for failing to appear in court on a “driving-under-the-influence” charge,
        and the police arrested Harrison and took him to the Alameda County
        Santa Rita Jail.141 During the intake medical screening process, which
        occurred at approximately 3:00 p.m., Harrison was visibly intoxicated and
        smelled of alcohol.142 He told the licensed vocational nurse (LVN) who
        conducted the intake medical assessment that he drank every day, that
        his last drink was that day, and that he had a history of experiencing
        alcohol withdrawal.143 The LVN determined Harrison needed no medical
        care and sent Harrison to the jail’s general population without instituting
        any alcohol withdrawal treatment protocols.144 Three days later, Harrison
        experienced severe alcohol withdrawal, or delirium tremens, hallucinating
        that he was in his apartment and holding his mattress over his head
        because he perceived people were trying to shoot him. Ten deputies
        arrived at Harrison’s jail cell, Tased him, severely beat him, put a spit
        hood on him, and forced him into a prone position with officers on top of
        him, until he died.

        Alcohol withdrawal and delirium tremens are considered treatable by
        medical professionals, yet no medical management was offered at any
        point during Harrison’s stay in jail, including in response to deterioration of
        his medical condition.

        The defendants hired both Di Maio and Wetli as their expert witnesses.

        In 2014, Di Maio and Wetli gave sworn deposition testimony in the
        Harrison case. There was no dispute between the parties that Harrison
        was experiencing delirium tremens – which, unlike “excited delirium,” has


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        an International Classification of Diseases code – at the time he was
        severely beaten, Tased, and restrained. Yet Wetli testified in his
        deposition that Harrison died of “excited delirium” and “is a classic
        example of death due to excited delirium or the resuscitation that has
        taken place.”145 Di Maio testified that Harrison’s “presentation is of
        somebody in excited delirium” and “you could argue” that Harrison’s
        death was “a pure excited delirium case.”146

        Despite their assertions regarding “excited delirium,” Di Maio and Wetli’s
        depositions confirmed these facts:

        •   “Excited delirium” has no International Classification of Diseases
            (ICD-9 or ICD-10) code, which means it cannot be assigned as a
            diagnosis or as a cause of death for statistical purposes; 147
        •   “Excited delirium” has never appeared in any version of the Diagnostic
            and Statistical Manual of Mental Disorders (DSM), the main diagnostic
            tool for mental health problems used by physicians and mental health
            workers in the United States, which is now in its fifth edition; 148
        •   “Excited delirium” is not recognized by the American Medical
            Association, American Psychiatric Association, or American
            Psychological Association.149

        The Harrison case settled in 2015 after the first week of an eight-week
        trial, for $8.3 million, along with changes to policies and training in the fifth
        largest jail in the United States.150



                            “Excited delirium” has no International
                            Classification of Diseases (ICD-9 or ICD-10) code,
                            which means it cannot be assigned as a diagnosis
                            or as a cause of death for statistical purposes.



Medical Literature Review
The PHR team explored two main areas of controversy in the peer-reviewed
medical literature on “excited delirium”: 1) the underlying pathophysiology of
“excited delirium;” and 2) “excited delirium” as a cause of death.

Consensus in the Literature that the Pathophysiology of
“Excited Delirium” Is Unknown
There is consensus across reviewed articles that the pathophysiology of “excited
delirium” is unknown, and that there are no telltale or characteristic autopsy


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findings.151 Many possible causes of the symptoms associated with “excited
delirium” are hypothesized. These include a fight-or-flight response
(catecholamine surge) resulting in cardiac arrhythmia, disturbances of dopamine
and/or dopaminergic pathways, and restraint-related asphyxia or other use of
force.152 Several systematic reviews of the literature on “excited delirium”
conclude that the levels of evidence for any postulated etiology are low to very
low, and that the overall quality of the studies is poor.153 For example, a 2018
systematic review found that 65 percent (n = 43) of the articles were
retrospective case reports, case series, or case-control studies, all weaker
forms of medical evidence.154




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Hypothesized Roles of Cocaine Intoxication and
Neurotransmitters in Symptoms and Signs of “Excited Delirium”

The consensus among the articles included in the review was that Wetli and
Fishbain in 1985 introduced into the literature and medical community the
concept of “excited delirium” in the context of cocaine use. The authors reported
that “excited delirium” was secondary to cocaine intoxication. Therefore, “excited
delirium” is a presentation with an underlying cause.155 Wetli et al. cite the
Comprehensive Textbook of Psychiatry, chapter 20, written by Dr. Zbigniew J.
Lipowski, when defining delirium: “There are two major types of delirium:
stuporous ... and excited….” Lipowski does not use the term “excited delirium.” In
fact, cocaine is only referenced in the context of “substance-induced organic
mental disorders.”156 It seems that Wetli et al. initially used “excited” as an
adjective to portray the hyperactive form of delirium in their case report.

Later, in 1996, Wetli et al. again discussed cocaine-associated delirium and
concluded that, “When cocaine users with agitated delirium die, cocaine should
be considered the cause of death, unless there is clear physical evidence that
death is due to some mechanism other than cocaine toxicity, such as positional or
mechanical asphyxia.”157

The reviewed literature accepts that cocaine interacts with different receptors in
the body, including the dopamine system in the brain, by increasing dopamine
levels through various mechanisms.158 Increased release or transport of
dopamine is hypothesized in some articles to lead to “excited delirium.”159
However, controversy remains about whether there is any evidence from
autopsies that the dopamine system in the brain is associated with “excited
delirium.”160

Other articles have hypothesized that “excited delirium” may be part of a
spectrum of other known medical conditions with other neurotransmitters and
pathways involved.161 No reviewed studies provide conclusive evidence for one
hypothesized mechanism over another. Similarly, while death from “excited
delirium” in reviewed case series were often attributed to acute myocardial
dysfunction leading to cardiopulmonary arrest, exact mechanisms leading to this
cause of death are not elucidated.

Debate in the Literature on Whether Prone Restraint Positions
rather than “Excited Delirium” Are a Cause of Death in Police
Custody

Bell and Wetli et al. defined positional asphyxia as the decedent being found in a
position that does not allow adequate breathing and having been unable to free
themselves.162




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In 2020, Strommer et al. conducted an extensive review of the literature and
converted all relevant “excited delirium” or “agitated delirium” case reports and
characteristics in the literature into a numerical dataset for quantitative
analysis.163 They found that some form of restraint was described in 90 percent of
all deaths in “excited delirium.” Restraint increased the odds of an “excited
delirium” diagnosis by between 7 and 29 times.164

A central debate has thus been whether restraint positions such as prone
restraint can physiologically cause positional asphyxia and death. Some case
reports have shown that prone restraint was used during sudden and unexpected
in-custody deaths.165 Studies have attempted reenactment of prone and prone
restraint positions, including with compression, with no clear pattern of results.

One of the earliest studies evaluated blood oxygenation and heart rate after
recovery from exercise while in a restrained and hogtied position.166 The study
found that it took participants longer to recover in the hogtied position and
questioned if this could be worsened during a violent struggle. Later, a different
study monitored similar parameters for different types of restraint positions over
a longer period of time after exercise, but in obese adults.167 This study concluded
that there were no clinically significant effects. However, its data showed that
carbon dioxide elimination was reduced in all restrained positions. None of the
studies captured scenarios reflective of police encounters, i.e., involving people
who may be struggling and agitated, as opposed to lying at rest, as were the
participants in these studies.

Some studies have shown statistically significant decreases in lung function
measures during prone restraint positioning, though whether these results were
clinically meaningful is not clear.168 Researchers have found large decreases in
lung function and/or other physiologic parameters, such as heart rate and blood
pressure, and concluded that some prone restraint positioning should be
considered a risk factor for sudden death.169 Other studies have shown that after
applying weight to the torso of prone people, there were reductions in cardiac
output, blood flow, and/or the diameter of the inferior vena cava (the large vessel
which returns blood to the heart that is then pumped to the lungs to be
oxygenated).170 One study measured the effects of prone positioning and restraint
for 10 minutes on adults with chronic obstructive pulmonary disease; almost half
were unable to complete the study due to uncontrolled respiratory symptoms.171



                       A 2020 study found that some form of restraint was
                       described in 90 percent of all deaths in “excited” or
                       agitated delirium. Restraint increased the odds of
                       an “excited delirium” diagnosis by between 7 and
                       29 times.



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A 2021 study noted that four prominent factors – physical exertion, prone
positioning, restraint, and body compression – had been tested in other
studies.172 The researchers used electrical impedance tomography (EIT) to
measure the combined impacts of these parameters on ventilation in 17 healthy
human participants. They found that under the combined effects of all these
conditions, participants had significant and prolonged declines in lung reserve
volumes over time, indicating increased work of breathing compared to the
control posture of arms at the side.173

The researchers noted that these declines took place with an applied weight of 35
percent participant bodyweight, which the study described as “likely less” than
the weight an officer would typically apply in an arrest-related encounter. They
hypothesized that in true conditions of weighted restraint, the increasing effort
needed to breathe while in a restraint posture would become more relevant to the
survival of the participant the longer the weight is applied.174

The above studies demonstrated measurable hemodynamic and/or respiratory
changes detectable in volunteers who were placed in a prone or prone restraint
position in a controlled and mild setting. All of these studies had tiny sample
sizes composed of primarily healthy volunteers in well-controlled environments.
None of the study participants were intoxicated, fearful, or agitated, within or
outside the context of mental illness, and none were being forcibly restrained.
Therefore, none of the studies replicated an accurate police encounter with
someone supposedly in “excited delirium” who may be struggling and agitated
due to restraints, as opposed to laying in rest.

It is not known whether the use of prone restraint in conditions such as the
forcible restraint of an agitated person could cause significantly worse
hemodynamic or respiratory harms than what was found in these studies.

Regarding all forms of neck restraint, however, a 2009 study found that “A force
of only 6kg is needed to compress the carotid arteries, which is about the average
weight of a household cat or one-fourteenth the average weight of an adult
male.”175 For this reason, among others, the American Academy of Neurology
(AAN) has held that neck restraints should be classified, “at a minimum, as a
form of deadly force.”176


Whether Delirium Alone Can Be a Cause of Death

The DSM-5 recognizes delirium as characterized by “disturbance of
consciousness” (i.e., reduced clarity of awareness of the environment), with
reduced ability to focus, sustain, or shift attention. The three delirium subtypes
are hyperactive, hypoactive, and mixed. Yet, some literature discussed that
delirium alone cannot be a cause of death because, by definition, delirium
requires an identifiable underlying organic cause that can be ascertained from the
clinical presentation, diagnostic studies, or, in the case of death, by autopsy.177



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                         Delirium alone cannot be a cause of death because,
                         by definition, delirium requires an identifiable
                         underlying organic cause that can be ascertained
                         from the clinical presentation, diagnostic studies, or, in
                         the case of death, by autopsy.


In their 2020 quantitative analysis on “excited delirium,” Strommer et al.
discussed the overlap between restraint asphyxia and “excited delirium,” in that
the characteristics used to describe “excited delirium” are likely to trigger the use
of force and restraint, and that risk factors for “excited delirium” overlap with the
risk factors for restraint-related asphyxia.178 This recent review further reinforces
that “excited delirium” does not cause death in unrestrained people.

Key Concerns Raised by Review of the Scientific Literature on
“Excited Delirium”
The foundations for the diagnosis of “excited delirium” have been
misrepresented, misquoted, and distorted. The authors credited with the creation
of the term initially used “excited delirium” as a descriptive term for delirium and
noted underlying causes. Our examination of the peer-reviewed medical
literature on “excited delirium” found that those articles supporting this
diagnosis were authored by a small group of people, many of them with ties to
TASER/Axon and/or other conflicts of interest. Most of the studies cross-
reference each other and highlight non-peer-reviewed sources, such as the Di
Maio and Di Maio book Excited Delirium Syndrome, which is not a scientific or
medical textbook, is not peer reviewed, and draws unsubstantiated
conclusions.179 For example, Di Maio and Di Maio discuss the 1997 study by Chan
et al. multiple times. They describe this study as a “death blow” to the positional
asphyxia theory and that believing positional asphyxia is possible “involves
suspension of common sense and logical thinking.” Elsewhere, they state that
Chan et al.'s study “disproved” the restraint asphyxia hypothesis. Di Maio and Di
Maio are not reporting evidence-based conclusions. Chan’s single study with a
small, non-representative sample size that does not replicate real-life conditions
cannot deliver a “death blow.”

Most of the reviewed literature suggests a relationship between “excited
delirium,” death, and restraint. However, these studies have small sample sizes
alongside other limitations. The extensive review conducted by Strommer et al.
included studies up to April 2020 and summarized all “excited delirium”
characteristics. It found that restraint was described in 90 percent of all deaths in
the “excited” or agitated delirium medical literature.180 Notably, they report that
asphyxia often lacks pathognomonic signs (clear signs that a particular disease is
present) on autopsy.




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                          We found no rigorous scientific research that
                          examines the prevalence of death for people with
                          “excited delirium” who are not physically restrained.

Our review does not allow for conclusive determinations about whether or not
restraint or positional asphyxia is the most likely true cause of death for people
said to have died from “excited delirium” while agitated and forcibly restrained.
All the studies discussed here, however, including those by authors who claim
their studies refute restraint asphyxia and those that did not show clinically
significant changes in cardiac or respiratory parameters, indeed did demonstrate
measurable changes in cardiac and respiratory parameters. It is unknown if they
would be clinically significant in a specific real-world situation, but it is notable
that there were cardiopulmonary changes even among participants in calm and
controlled settings. It is, therefore, reasonable to hypothesize that these
cardiopulmonary changes could worsen and become clinically significant in real-
world settings. We found no rigorous scientific research that examines the
prevalence of death for people with “excited delirium” who are not physically
restrained.

Of note, in a December 26, 2021 investigation in the New York Times, the
authors analyzed more than 230 scientific papers on restraints, body position,
and “excited delirium” in the National Library of Medicine database published
since the 1980s. They found that nearly three-quarters of the studies that
included at least one author who was in the network of TASER/defense experts
“regularly supported the idea that restraint techniques were safe or that the
deaths of people who had been restrained were caused by health problems.”
Meanwhile, “only about a quarter of the studies that did not involve anyone from
the network backed that conclusion. More commonly, the other studies said some
restraint techniques increased the risk of death, if only by a small amount.”181


Continued Use of “Excited Delirium” to Explain
Deaths in Custody and as a Legal Defense to
Exonerate Law Enforcement Officials
Despite the problems with its diagnostic underpinnings, “excited delirium”
continues to be used to explain deaths in custody. An Austin-American
Statesman investigation into each non-shooting death of a person in police
custody in Texas from 2005 to 2017 found that more than one in six deaths (of
289 total) were attributed to “excited delirium.”182 A January 2020 Florida Today
report found that of 85 deaths attributed to “excited delirium” by Florida medical
examiners since 2010, at least 62 percent involved the use of force by law
enforcement.183 A Berkeley professor of law and bioethics conducted a search of
these two news databases and three others from 2010 to 2020 and found that of
166 reported deaths in police custody from possible “excited delirium,” Black
people made up 43.3 percent and Black and Latinx people together made up at



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                        “Excited delirium” is frequently asserted as a
                        defense by police officers who kill people during the
                        course of restraint.

least 56 percent.184 Taser use was connected to 47 percent of cases.185 Similarly, a
2018 study found that the term “excited delirium” has been disproportionately
used as a cause of death in cases concerning young Black men.186

“Excited delirium” is also frequently asserted as a defense by police officers who
kill people during the course of restraint.187 With notable exceptions, such as the
murder prosecutions of the Minneapolis police officers who killed George Floyd,
law enforcement officers are usually not criminally prosecuted for restraint-
related deaths,188 and they frequently deploy the “excited delirium” causation
defense in civil lawsuits brought against them by decedents’ families.189


Growing U.S. Medical and Psychiatric Association Opposition
to “Excited Delirium” as a Diagnosis
The American Medical Association (AMA) and the American Psychiatric
Association (APA) do not recognize “excited delirium” as a valid diagnosis. In
2021 and 2020, respectively, they released statements denouncing a concerning
pattern where “excited delirium” is used as a justification for excessive police use
of force, particularly when Black men die in law enforcement custody.190 The
AMA elaborated that the term “excited delirium” has been used to justify
inappropriate and discriminatory actions. The APA advocated for the U.S.
Department of Health and Human Services to conduct a nationwide investigation
of all cases labeled “excited delirium.” Both associations advocate for cessation of
the use of the term “excited delirium” unless a clear set of diagnostic criteria can
be established, rigorous studies undertaken, and data made available.

The American College of Emergency Physicians (ACEP), meanwhile, has yet to
revise its position that “excited delirium” is a distinct type of delirium. In June
2021, ACEP released a new task force report on “Hyperactive Delirium with
Severe Agitation in Emergency Settings” without rescinding the 2009 white
paper.191 The new report emphasized the necessity to “differentiate and treat life-
threatening causes of hyperactive delirium,” outlined multiple potential
underlying causes, and called for additional research to “more fully understand
inciting pathways and distinct pathophysiology of individual causes of
hyperactive delirium with severe agitation.” The report noted concerns about
“potential bias” in the 2009 ACEP white paper on “excited delirium syndrome”
and stated that since that report’s publication, “ACEP enacted a robust global
conflict of interest policy, though notably not in direct response to critics of the
2009 white paper nor with specific concerns regarding the content of that paper
or others generated before such a policy was in force.” Unlike in the 2009
position paper, ACEP this time appended conflict-of-interest disclosures for the
members of the task force that produced this new report. However, the 2021


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                        The American Medical Association and the American
                        Psychiatric Association do not recognize “excited
                        delirium” as a valid diagnosis and both advocate for
                        cessation of the use of the term unless a clear set of
                        diagnostic criteria can be established, rigorous
                        studies undertaken, and data made available.

report specified that while its authors were “informed by” the 2009 report, the
new report was “de novo and not to be construed as an update or refutation
[emphasis added] of the 2009 paper.”192

In February 2022, PHR reached out to ACEP’s leadership to clarify their current
position in light of their 2009 and 2021 publications.193 PHR received the
following response from Sandy Schneider, ACEP associate executive director,
clinical affairs: “We stand by the research presented in our ‘ACEP Task Force
Report on Hyperactive Delirium with Severe Agitation in Emergency Settings,’
published on June 23, 2021.”194

Equally of concern, the National Association of Medical Examiners (NAME) has
not publicly released a statement refuting the validity of “excited delirium” as a
diagnosis and cause of death. In February 2022, PHR reached out to NAME’s
leadership to clarify its current position in light of its 2004 and 2017 position
papers195 referencing the term.196 PHR received a response from Dr. Kathryn
Pinneri, the 2022 NAME president, who attached the 2021 ACEP task force
report and said:

        “‘Excited delirium’ is not recognized as a diagnosis in the World Health
        Organization International Classification of Diseases (WHO ICD-10). It is
        a descriptive term used for what is known medically as an acute
        hyperactive delirium. Acute delirium is a well-recognized diagnosis that
        is part of both ICD coding and the Diagnostic and Statistical Manual of
        Mental Disorders (DSM-V) of the American Psychiatric Association.

        “A variety of diseases, intoxications, and injuries may result in an acute
        hyperactive delirium. … Deaths associated with an excited delirium
        component have also occurred in the absence of police involvement.
        Forensic pathologists recognize that although a person may be
        experiencing a hyperactive or excited delirium, that does not mean they
        died from it. In fact, should a person die after experiencing acute
        delirium, the cause of death would be the underlying disease, injury or
        intoxication that caused the delirium.

        “Though I suspect it is accepted among many NAME members, we have
        never issued any type of consensus statement on excited delirium, and as
        an organization have not formally ‘recognized the condition as a



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        diagnosis.’ The NAME Position paper on the Certification of Cocaine-
        Related Deaths is no longer current and therefore does not reflect our
        position at this time. We do still support the position paper on in custody
        deaths.”197


International Reach of “Excited Delirium”
“Excited delirium” has also received attention in the wake of in-custody deaths in
Australia,198 Canada,199 the United Kingdom,200 and elsewhere. The international
spread of the term is concerning, but it has far from widespread acceptance.

Australia

According to The Guardian, “No Australian medical association recognises
‘excited delirium.’”201 The term has, however, been used by Australian forensic
pathologists in specific cases of deaths in custody. Additionally, The Guardian
identified at least one case in the last five years in which TASER/Axon sent an
email to law enforcement the same day as a death that involved Taser use. Law
enforcement shared the email with the forensic pathologist on the case, who
disregarded it. The email read, “TIMELY AND URGENT AND REQUIRES
ACTION WITHIN 24 HOURS OR LESS,” offering assistance with the
investigation and inviting the police to send brain tissue samples to the
University of Miami Brain Endowment Bank to “determine drug abuse and look
for excited delirium markers.”202

Canada

In December 2007, the Commission for Public Complaints Against the Royal
Canadian Mounted Police (RCMP) issued recommendations for the use of
conducted energy weapons (Tasers), accepting the existence of “excited delirium”
as a unique condition and warning that Tasers should not be used against people
“experiencing the condition” unless “the behaviour is combative or poses a risk of
death or grievous bodily harm to the officer, the individual or the general
public.”203

In June 2008, an independent review of Taser use by the RCMP concluded that
“excited delirium” “can be considered to be ‘folk knowledge’ when used by the
police and should not be included in the RCMP's operational manual unless
subsequently formally approved by the RCMP after consultation with a mental-
health-policy advisory body.”204

United Kingdom

In May 2016, the Royal College of Emergency Medicine in the United Kingdom
issued guidelines for the management of “excited delirium,” which they also
referred to as “acute behavioural disturbance” (ABD).205 The term ABD was later



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added to the Maudsley Prescribing Guidelines in Psychiatry, a handbook for
psychiatric medications, prompting the similarly named South London and
Maudsley NHS Foundation Trust – the largest public provider of mental health
and substance use services in the United Kingdom – to issue a statement noting
that the Trust did not recognize either “excited delirium” or ABD as medical
terms.206 The term “excited delirium” is also not recognized by the European
Society of Emergency Medicine, an association of emergency physicians from 30
countries.207

In 2020, the Royal College of Pathologists in the United Kingdom issued Forensic
Science Regulator Guidance about “excited delirium,” noting concerns about its
use and misuse as a cause of death. The regulator found that “‘Excited Delirium’
should never be used as a term that, by itself, can be identified as the cause of
death. The use of Excited Delirium as a term in guidance to police officers should
also be avoided.” The regulatory guidance applies in England, Wales, and
Northern Ireland.208



        The Death of Elijah McClain

        On August 24, 2019, 23-year-old Elijah McClain was walking home from a
        convenience store in Aurora, Colorado when he was unlawfully arrested,
        beaten, and placed in a chokehold. When paramedics arrived, they
        diagnosed him with “excited delirium” and injected him with ketamine, an
        anesthetic that can be fatal, in an amount indicated for someone almost
        twice his weight. McClain went into cardiac arrest in the ambulance on
        the way to the hospital and died four days later.209 A forensic pathologist
        ruled that his death was undetermined but may have been the result of
        “excited delirium.”210

        “Justice for Elijah McClain” became a rallying cry in the Black Lives
        Matter movement: a young Black man killed when he was simply walking
        home had been blamed for his own death at the hands of law
        enforcement and first responders.211 McClain’s killing also drew
        nationwide attention to the inappropriate prehospital use of ketamine in
        response to supposed signs of “excited delirium.” A July 2020
        investigation by KUNC, a Colorado public radio station, found that medics
        in Colorado administered ketamine to 902 people for “excited delirium”
        over two and a half years, and about 17 percent of those people
        experienced complications.212 Since then, there have been whistleblower
        complaints by paramedics reporting that police officers pressured them to
        administer ketamine against their medical judgment.213

        In June 2020, the American Society of Anesthesiologists issued a
        statement opposing the use of ketamine for a law enforcement
        purpose.214 In July 2021, Colorado Governor Jared Polis signed a bill



“Excited Delirium” and Deaths in       Physicians forProtesters marchingphr.org
                                                      Human Rights       in Aurora, CO over
                                                                                         40the killing there of Elijah
Police Custody: The Deadly Impact                    McClain in August 2019.
                                                     Photo: Michael Ciaglo/Getty Images
of a Baseless Diagnosis
        prohibiting the use of ketamine by non-medical professionals and banning
        its use in response to “excited delirium.” In September 2021, a grand jury
        indicted three police officers and two paramedics for McClain’s death,
        charging them with manslaughter and criminally negligent homicide.215 In
        November, the city of Aurora agreed to pay a settlement of $15 million to
        Elijah McClain’s family.216 The following month, the Colorado Department
        of Public Health and Environment published a report from its independent
        ketamine review committee, which stated, “The panel rejected the
        condition or diagnosis of ‘excited delirium’ because it lends itself to
        discriminatory practices that result in systemic bias against communities
        of color, and because it lacks a uniform definition and specific, validated
        medical criteria.”217


                    “The panel rejected the condition or diagnosis of ‘excited
                    delirium’ because it lends itself to discriminatory practices
                    that result in systemic bias against communities of color,
                    and because it lacks a uniform definition and specific,
                    validated medical criteria.”
                    Colorado Department of Public Health and Environment,
                    independent ketamine review committee




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        The Death of Daniel Prude218

        Daniel Prude arrived at his brother Joe’s home in Rochester, New York
        on March 22, 2020, after his sister reported he had been behaving
        erratically. When Daniel jumped headfirst down the basement stairs, Joe
        called 911. Daniel was hospitalized but released later that day.219 In the
        middle of the night, Daniel left Joe’s home under the influence of
        phencyclidine (PCP).220 Joe jumped in his car to try to find Daniel, calling
        911 for the second time. Police arrived and told Joe to go home or risk
        being jailed for violating the coronavirus lockdown.221

        Soon after, a Rochester police officer arrived at Joe’s home. Joe heard on
        the officer’s radio that they had found a man nearby, unclothed. Over the
        radio, Joe heard an officer at the scene asking the man if he was Daniel
        Prude, and Daniel responding “Yes.” This was the last word Joe heard his
        brother utter. The officer told Joe that everything was under control. Joe
        recalled telling him, “My brother doesn’t have any weapons on him. And if
        he’s naked, he’s no threat to anybody but himself. Don’t kill my
        brother.”222

        When the officers found Daniel, they ordered him onto the ground. He lay
        face down, putting his hands behind his back, and officers handcuffed
        him. Police body cameras recorded officers laughing while Daniel was on
        the ground. When he sat up, officers put a spit hood over his head and
        face. Soon after, they pinned him face down; he can be heard saying that
        the officers were “trying to kill me.” One officer assumed a three-point
        “pushup” position with both of his hands on Daniel’s head, stretching his
        legs out and focusing his weight onto Daniel’s head.223 He held that
        position for more than two minutes, while a second officer put his weight
        on Daniel’s back, and a third officer held Daniel’s legs down.224 Daniel
        vomited and became unresponsive.225 After about 18 minutes of
        resuscitation attempts, Daniel’s circulation returned, but he remained
        unconscious and unable to breathe on his own.226 He was transported to
        the hospital, where he was pronounced dead one week later.227


                             One officer assumed a three-point “pushup” position
                             with both of his hands on Daniel’s head, stretching
                             his legs out and focusing his weight onto Daniel’s
                             head. He held that position for more than two
                             minutes, while a second officer put his weight on
                             Daniel’s back, and a third officer held Daniel’s legs
                             down. Daniel vomited and became unresponsive.



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                                                    Protesters          phr.org
                                                               marching in Aurora, CO over42
                                                                                           the killing there of Elijah
Police Custody: The Deadly Impact                    McClain in August 2019.
of a Baseless Diagnosis                              Photo: Michael Ciaglo/Getty Images
                                                                           Daniel Prude
                                                                           (right), with his
                                                                           brother Joe Prude.
                                                                           Photo: Courtesy of
                                                                           Joe Prude




        The night of the police encounter, an officer falsely told Joe that his
        brother had died at the scene. “It took seven days for me to find out that
        my brother was on life support,” Joe said.228

        On May 5, 2020, the Monroe County medical examiner issued an autopsy
        report describing Daniel Prude’s manner of death as homicide but the
        cause of death as “complications of asphyxia in the setting of physical
        restraint due to Excited Delirium due to Acute phencyclidine [PCP]
        intoxication.229

        For months, the Rochester police chief and other city officials sought to
        delay the release of video footage from that night, knowing it would ignite
        public outrage.230 A Prude family attorney submitted a Freedom of
        Information Law request for the video footage in April 2020, but the city
        did not send him and his team copies of the video until August.231

        Grand Jury Proceedings and “Excited Delirium”

        In September 2020, after the video became public, New York Attorney
        General (A.G.) Letitia James announced that she would empanel a grand



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                                    “This is something I’ve got to live with the
                                    rest of my life – seeing that video tape
                                    playing over in my head.”
                                    Joe Prude, brother of Daniel Prude

        jury to consider charges against the officers who restrained Daniel.232 The
        A.G.’s office retained as one of its prosecution witnesses the defense
        expert Dr. Gary Vilke to testify about “excited delirium,”233 unaware that
        Vilke had previously given multiple interviews in which he expressed
        doubt about the police officers’ responsibility for Daniel’s death.234 Vilke
        testified at the grand jury that Daniel died from “PCP induced excited
        delirium, leading to cardiac arrest.” He told the grand jury he “wouldn't do
        anything differently” than what the officers had done. “My opinion is that
        none of the officers, their impact, individually or collectively, would have
        caused or contributed to that cardiac arrest.”235

        On February 23, 2021, it was announced that the grand jury had decided
        not to indict the officers who had restrained Daniel, which James
        described as “very, very disappointing.”236 Almost two years after his
        brother’s death, Joe reflected on the pain of losing him in this way: “This
        is something I’ve got to live with the rest of my life – seeing that video
        tape playing over in my head.”237

        Training Recommendations and “Excited Delirium”

        The same day that the grand jury decision was announced, the A.G.’s
        office released a report on its investigation into Daniel’s death, which
        included among its recommendations, “Law enforcement officers,
        emergency communications providers (dispatchers), and emergency
        medical service personnel must be trained to recognize the symptoms of
        excited delirium syndrome and to respond to it as a serious medical
        emergency.”238 The report acknowledged that “excited delirium” “can be
        controversial and for good reason,” noting that the purported symptoms
        “overlap with racist stereotypes of Black men,” which “continue to put
        Black people in danger.” Yet the report gave credence to the medical
        literature on “excited delirium” and the 2009 ACEP white paper, stating
        “we are unaware of any scientific studies in peer reviewed literature
        endorsing the notion that ExDS [Excited Delirium Syndrome] is a
        concocted, false finding that was generated to shield police
        misconduct.”239

        One month later, in the wake of media scrutiny related to the office’s
        decision to retain Vilke and its acceptance of “excited delirium” as a valid
        diagnosis,240 the A.G.’s office modified its training recommendations in a
        report of an investigation into the 2019 in-custody death of Troy Hodge.


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        The office removed the term “excited delirium,” instead recommending
        that “law enforcement officers, dispatchers, and EMS personnel must be
        trained to recognize that when people display a unique constellation of
        symptoms, it can signal potential, imminent medical distress; response
        protocols and training must be structured accordingly.”241

        The A.G.’s office described this constellation of physical signs in the
        following manner:

                “The most common type of presentment this office has observed
                involves individuals under the effect of a stimulant drug – most
                commonly cocaine. The individuals have generally been observed
                to be in a condition indicating some sort of detachment from reality
                and police have been summoned because of bizarre and/or
                violent and erratic behavior. Further, the individuals involved in our
                cases have often been highly sweaty or attired in clothing
                inappropriate for the existing weather conditions and/or
                surroundings. After police restrain these individuals, they have
                resisted the restraint and fought, seeming not to tire until, quite
                suddenly, they have become silent. The death is nearly always
                attributed to cardiac arrest or acute drug intoxication.”

        Although this description appeared to be a re-packaging of some of the
        purported physical signs of “excited delirium,” the report appropriately
        noted the need for a “coordinated response” to medical emergencies.242

        However, the report also included the caveat:

                “In addressing this issue, we are not suggesting that restraint does
                not contribute to the death of individuals experiencing this
                condition. To the contrary, our experience with cases over which
                we have had jurisdiction has informed us that individuals
                exhibiting these symptoms are particularly vulnerable to the stress
                and rigor of restraint, particularly when they struggle against it, are
                largely impervious to pain, and do not fatigue normally.”243

        While the report importantly noted the possible contribution of restraint to
        the observed deaths, PHR is concerned that the explanation above
        continues to pathologize a potentially normal and instantaneous human
        response (“struggle” against restraint) and uses language that reinforces
        racist tropes (“impervious[ness] to pain”).




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        The Death of Angelo Quinto244

        On December 23, 2020, Bella Quinto-Collins called 911 seeking help for
        her 30-year-old brother Angelo Quinto, who was exhibiting agitation and
        other signs of a mental health crisis at their home in Antioch, California.245
        When two police officers arrived, they pulled Quinto from his mother’s
        arms onto the floor. At least twice, Quinto’s mother, Cassandra Quinto-
        Collins, heard him say to the officers, “Please don’t kill me.” Bella and
        Cassandra then watched in disbelief and horror as the two officers knelt
        on Quinto’s back for five minutes until he stopped breathing. Three days
        later, Quinto died in the hospital.246

        Cassandra recalled that shortly before paramedics arrived, the officers
        turned Quinto on his side, saw blood coming from his mouth, and asked if
        Quinto had taken any drugs.247 PHR reviewed Cassandra’s video
        recording of the officers’ actions and observed that Quinto did not
        immediately get cardiopulmonary resuscitation (CPR), despite being
        unresponsive.248

        Cassandra said that the paramedics’ report stated that law enforcement
        officers reported that Quinto was on methamphetamine and combative,
        that they had to restrain him, and that the paramedics had been told not
        to communicate with the family.249 Later, however, a toxicology report
        found no methamphetamine in his system, and his mother said he did not
        use it.250 “Angelo was not violent. He was not a threat to anyone. He was
        following all directions,” Angelo’s stepfather, Robert Collins, said.251 The
        video recording confirms that Quinto was not combative.252

                                                           Angelo Quinto,
                                                           who died after
                                                           police restrained
                                                           him in his home in
                                                           Antioch, California.
                                                           Photo: Courtesy of
                                                           the Quinto-Collins
                                                           family




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                               Cassandra and Bella recalled how law enforcement
                               officers deflected responsibility for Quinto’s
                               condition, sought to place blame on him or his
                               family, and blocked the family from receiving health
                               status updates from Quinto’s medical team.

        The police department obtained a felony search warrant and searched
        the Quinto-Collins residence. During the time the search was being
        conducted, the family was not allowed to reenter their home for eight
        hours.253

        At the police station that night, Bella and Cassandra were each
        questioned separately. One of the officers asked if Cassandra had hit
        Quinto because he had a bloody nose. She said she had not. Cassandra
        recounted how the detective questioning her became visibly disturbed
        when he discovered she had recorded the police encounter in her home.
        The officer left the room, and Cassandra heard him cursing outside,
        insisting that police should not let her leave the station until they got a
        copy of the video, which Cassandra had already offered to share.254

        At one point that night, Cassandra got a call from Quinto’s doctor at the
        hospital. She took the call on speaker phone, and an officer rushed over
        and instructed her to ask for a call-back number and then get off the
        phone. The officer wrote down the number but never gave it to
        Cassandra. The family later learned that a detective at the Antioch Police
        Department had told the hospital not to communicate with the family.255

        Cassandra and Bella recalled how law enforcement officers deflected
        responsibility for Quinto’s condition, sought to place blame on him or his
        family, and blocked the family from receiving health status updates from
        Quinto’s medical team.256




          Angelo Quinto (far right) with his family.
          Photo: Courtesy of the Quinto-Collins family


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        It was not until August 2021, eight months after Quinto’s death, that the
        family learned what was asserted to be the official cause of Quinto’s
        death: a forensic pathologist had testified during a coroner’s inquest that
        Quinto died from “excited delirium syndrome.”257

        Robert Collins, Angelo’s stepfather, recalled a previous meeting with the
        family’s attorney: “He told us about ‘excited delirium’... when you have
        nothing else, you go with ‘excited delirium.’”258

        “‘Excited delirium’ has to be debunked,” Cassandra said. She spoke
        about how painful it was not only to lose Angelo but to see law
        enforcement repeatedly deny the circumstances of his death. “We’re
        already suffering,” she said. To see law enforcement “lying about what
        happened” was “actually more hurtful.”259

        After Quinto’s death, the Quinto-Collins family began working with the
        Justice for Angelo Quinto! Justice for All! Coalition, advocating for both
        accountability and legislative changes, focusing on positional asphyxia
        and mental health crisis response. “Justice for Angelo means it won’t
        happen to the next person,” Robert Collins said.260 In September 2021,
        California governor Gavin Newsom signed the Angelo Quinto Act, which
        bans all forms of law enforcement restraints that can cause positional
        asphyxia, including the “knee to neck” restraint that killed George Floyd
        and Angelo Quinto.261

                                “Justice for Angelo means it won’t happen to the
                                next person.”
                                Robert Collins, Angelo Quinto’s stepfather




         A birthday vigil for Angelo Quinto on March 3, 2021.
         Photo: Courtesy of the Quinto-Collins family


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Key Themes from Interviews with Forensic
Pathologists and Other Experts
Several key themes emerged from PHR interviews with nine forensic pathologists
and four other physicians: 1) the debunking of the initial attribution of “excited
delirium” as a cause of death in Miami in the 1980s; 2) the role of TASER/Axon
in efforts to legitimize and increase use of “excited delirium” as a cause of death;
3) concern about the validity of prone restraint studies; 4) lack of meaning of the
term “excited delirium;” 5) optimism about decreasing use of the term “excited
delirium;” 6) use of the term “excited delirium” as a proxy for restraint asphyxia;
and 7) use of the term “excited delirium” to exonerate law enforcement for deaths
in custody. Additionally, interviews with many of these physicians, as well as
legal, mental health, and substance use disorder experts, touched on
recommendations for alternative responses to people in crisis.

Debunking of “Excited Delirium” after Misclassified Homicides
in Miami in the 1980s
A number of forensic pathologists whom PHR interviewed were first introduced
to the term “excited delirium” through Wetli’s work from the 1980s. Dr. Michael
Pollanen, chief forensic pathologist for Ontario, Canada and professor of
laboratory medicine and pathobiology at the University of Toronto, noted that
Wetli’s original discussion of “excited delirium” “occurred in a context where
there was a sharp rise of cocaine use in the U.S.”262 He described its evolution
from a “very classical clinical pathological description” of cocaine-related
psychosis to a cause of death. “The root concept is highly useful and valid and
helpful except it was extended too much beyond the original description,” he said.
“Wetli described in a beautiful series of cases the concept of cocaine-related
psychosis with a syndrome which included hyperthermia [high temperatures]
and rhabdomyolysis [muscle breakdown]…. It was a very robust concept.”
Pollanen observed, however, that “it has become overgeneralized to ‘excited
delirium’ as a cause of death.”263

Dr. Joye Carter, forensic pathologist for San Luis Obispo County, California and
the first Black American to be appointed chief medical examiner, described
hearing the term during her forensic fellowship from 1987 to 1989 in Miami,
where Wetli was deputy chief medical examiner. She recalled Wetli speaking
about “excited delirium” quite often, although the chief medical examiner, Dr.
Joseph Davis, did not use the term.264 Carter, whose fellowship coincided with the
office’s investigation of the series of deaths of Black women in Miami, said that
she had performed the autopsy for one of the women.265

        “During the time period in my training, there was a string of serial
        murders, which initially were classified as drug overdoses. While I was
        there, I remember attending a meeting. Dr. Davis had had a monthly




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        homicide meeting with all the homicide detectives and all the police
        agencies.… During that meeting, they were discussing cases that had
        similarities. Through that discussion they realized they had a serial killer
        on hand.”266

Wetli had described the cases using terms that were “very racialized” and
“polarizing,” she said, referencing his comment, “For some reason the male of the
species becomes psychotic and the female of the species dies in relation to sex.”
In other words, Carter said, “This happened to Black men. Black women were
dying because they were having sex with Black men.” Shortly after she left the
medical examiner’s office, she recalled, Davis reclassified those cases. “I believe
this was debunked in Miami because of the ways these cases were handled,” she
said.

Carter questioned whether other forensic pathologists who view “excited
delirium” as a cause of death “even know the origin of it.” “I was there,” she said.
Those who promote the validity of “excited delirium” as a cause of death “don’t
even acknowledge the fact that we had a string of homicides of Black women that
were initially attributed to, ‘Oh now we have it in Black women.’”267

“I honestly think that we need to get to the historical reference of ‘excited
delirium,’ where it came from, why it was debunked, and why it’s so harmful to
just throw these categories on individuals,” she said.


The Role of TASER/Axon in Efforts to Legitimize and Increase
Use of “Excited Delirium” as a Cause of Death
Interviewees described multiple efforts by TASER/Axon to promote the diagnosis
of “excited delirium.” Dr. Roger Mitchell, chair of the department of pathology at
Howard University and a forensic pathologist, recalled first seeing the term in Di
Maio’s book and then hearing it at an IPICD conference in Las Vegas as a young
forensic pathologist.268 Several other interviewed forensic pathologists noted that
Di Maio was well known in the field.269 Mitchell described him as a “mainstay in
forensics. At the time, he was one of the most visible forensic pathologists and
productive forensic pathologists.”270 Dr. Michael Baden, a forensic pathologist
and former chief medical examiner of New York City, recalled attending an
American Academy of Forensic Sciences annual meeting where TASER had a
booth and was distributing free copies of Di Maio’s book.271




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                 Multiple forensic pathologists referenced the chilling effects
                 of TASER’s lawsuits against medical examiners who had
                 attributed in-custody deaths in part to Taser use. “You
                 literally get this letter threatening you if you say Taser was
                 the cause of death.”
                 Dr. Joye Carter, forensic pathologist, San Luis Obispo
                 County, CA


Dr. Martin Chenevert, an emergency medicine physician at UCLA Santa Monica
Medical Center, only recently encountered the ACEP white paper. “It just seemed
like kind of junk science.… There's clearly a lot more work that needs to be done.
However, it's clear that it's not a real syndrome, more just a collection of
symptoms.… [The white paper] clearly had an agenda.” He said the paper
described findings of lethal toxicity without any kind of clear biological
mechanism. He also noted that many of the white paper authors’ TASER
affiliations were a “huge red flag.”272

Multiple forensic pathologists referenced the chilling effects of TASER/Axon’s
lawsuits over the years against medical examiners who had attributed in-custody
deaths in part to Taser use.273 Carter said, “You literally get this letter threatening
you if you say Taser was the cause of death. They’re literally threatening the
medical examiner with lawsuits.”274 Dr. Judy Melinek, CEO of PathologyExpert
Inc. and contract forensic pathologist for Communio Inc. in Wellington, New
Zealand, also noted the “silencing effect” the lawsuits had on medical examiners:
“Nobody wants to get sued.”275


Concern about the Validity of Prone Restraint Studies
Several forensic pathologists and other physicians expressed concerns about the
validity of the studies on which Vilke and colleagues based their arguments that
restraint was not dangerous. Dr. Michael Freeman, a forensic epidemiologist and
associate professor of forensic medicine at Maastricht University in the
Netherlands, described the studies as “blatantly unscientific research that
proposes that it’s essentially impossible to kill somebody with restraint.”276 He
added, “That particular brand of science was developed for litigation support, in
order to protect officers who may have been involved in the wrongful death of
someone they were restraining.”277

Others emphasized the studies’ artificial conditions with healthy, non-stressed
participants. As Dr. Kris Cunningham, the deputy chief forensic pathologist for
Ontario, Canada and a cardiovascular pathologist, noted:

        “There are lots of problems with a number of the studies that have been
        done in the past, where they take a bunch of medical students and put


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        them in prone positioning and restrain them. And, lo and behold!, they
        don’t become hypoxic. Well, that’s great, but you’re also not in pain and
        upset because a police officer is on your back. It’s a very artificial
        situation.”278

Pollanen also emphasized how dissimilar conditions in these studies were from
real-life conditions:

        “Part of the problem with the restraint asphyxia critique is that a lot of the
        experiments – all of the experiments – are done with healthy ambulatory
        people in prone restraint.… How is that medically or physiologically
        comparable to prone position restraint of someone who is under maximal
        adrenergic stimulation, whose oxygen demand is high?”279


Lack of Meaning of the Term “Excited Delirium”
While the physicians we interviewed did not agree about whether the term
“excited delirium” should ever be used to describe signs and symptoms, those
interviewed all agreed that there continues to be no consensus on its meaning.
Some, such as Freeman, concluded, “‘Excited delirium’ is a contrived term. It
doesn’t mean anything as a cause of death.”280 Others described “excited
delirium” as “a widely overused term that we don’t really have a meaning for”
(Dr. Jared Strote, an emergency physician and professor of emergency medicine
at the University of Washington), a “very nebulous concept” (Cunningham), and
“an unfortunate mishmash of concepts when you view it from a critical point of
view” (Pollanen).281

Pollanen did posit that there is a series of behavioral features that can be
abbreviated in short form as “excited delirium,” but he concluded that this
summary description should not be used for any causal conclusions:

        “We do that all the time in medicine. We find denoting terms that
        describe something, and we use that. When we do that in medicine, we
        usually don’t attach causal relevance to it. It’s just a short form. The
        problem with ‘excited delirium,’ if you then apply a causal relevance, i.e.,
        it can be a cause of death, the problem is there’s no way of differentiating
        someone with ‘excited delirium’ from someone who is just really
        agitated.”282

Pollanen, therefore, described the use of “excited delirium” as “almost a
nomenclatural error”: “It goes without saying that the whole thing has just
become progressively modified in an inappropriate manner. The concept has
evolved in a way that the evidence does not support in fact.”283 Others described
the term as a “generic term that applies to a confluence of symptoms” (Melinek)
and “a controversial theory that describes the final common path triggered by




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different substrates resulting in an increased level of catecholamines” (Dr. Enrico
Risso, deputy chief medical examiner in Edmonton, Alberta, Canada).284

Regardless of their views on whether or not “excited delirium” should ever be
used to describe any particular constellation of symptoms and signs, the majority
of the experts interviewed held that “excited delirium” should not be considered a
cause of death. As Chenevert said, “As a primary cause of death, I just can’t see
it.”285


Optimism about Decreasing Use of the Term “Excited Delirium”
Some forensic pathologists and other physicians were optimistic that the term
“excited delirium” was falling increasingly out of favor in recent years.286
Cunningham characterized it as “a concept that had much more appeal in the
past than for a lot of pathologists today.”287

Pollanen said, “‘Excited delirium’ as a cause of death is not fit for purpose in the
21st century, based on all the things we know now.”288

Several respondents speculated about possible reasons that the term may be less
frequently used. Mitchell cited better research: “As we get more information, the
medical community, particularly the forensic pathology community, needs to be
able to adjust to the information in front of them versus being dogmatic in our
diagnosis.”289 Some attributed the increasing skepticism about the term to the
rise of cellphone videos that capture the reality of police encounters, as Freeman
has noted.290

Mitchell elaborated on this possible explanation:

        “It’s a diagnosis that was used when you didn’t have cameras. We didn’t
        have direct objective evidence of the altercation with police or its severity.
        It is as if we are saying someone self-combusted. They started shaking,
        and they blew up, and now they’re dead. Now we’re seeing the actual
        footage of what is happening, law enforcement is standing on people’s
        backs. Imagine five grown men physically subduing an individual. Yes, he
        may have been intoxicated, but he would have gone home intoxicated, had
        he not been in that altercation.… It’s 2021. We have cellphone video …
        eyewitnesses. People are not scared to say what they’re seeing. It’s a
        different world.”291

Even forensic pathologists we interviewed who did not object to others using the
term “excited delirium,” such as Risso and Dr. Soledad Martinez, a forensic
pathologist with Chile's Medical Legal Service, noted they would not use it
themselves.292 Risso said, “In the majority of cases, it is not provable at autopsy,
and I prefer to describe the underlying pathologic findings.”293 Martinez said, “I




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                              “‘Excited delirium’ as a cause of death is not fit for
                              purpose in the 21st century, based on all the things
                              we know now.”
                              Dr. Michael Pollanen, chief forensic pathologist for
                              Ontario, Canada

try to use not a single diagnosis: death in a man with cocaine, agitation, and
physical restraint. [I’m] trying to show the complete spectrum of the death.”294

Other forensic pathologists also expressed a preference for a descriptive narrative
and referring to the underlying disease or circumstances. Cunningham said that
when he determines a cause of death, “It’s circumstance-dependent.”295 Mitchell
said, “I’ve been more descriptive of what my findings are. An example may be,
blunt force trauma with acute cocaine toxicity during police restraint. Homicide
…. I would rather describe the pathology than put it into a syndrome like excited
delirium.”296 Carter explained, “When you tell the story of death, you have an
opportunity to put down the primary cause of death. Then you have underlying
conditions.”297


Use of the Term “Excited Delirium” as a Proxy for Restraint
Asphyxia
Several forensic pathologists and other physicians criticized the use of “excited
delirium” as a proxy for restraint asphyxia during law enforcement encounters.
As Freeman said, “The evidence indicates that it’s used improperly or
unknowingly as a proxy for restraint-related asphyxia.” He proposed that one
should consider so-called “excited delirium” deaths through the lens of
counterfactual causation, a concept borrowed from epidemiology. “Take away the
restraint, what are the chances the conditions present in the restrained individual
kill him at that discrete point in time?”298 He added:

        “There is this unproven hypothesis that ‘excited delirium’ is this unique
        pathophysiologic process that causes sudden death, and it’s the decedent’s
        fault because they took drugs, leveraged by the absurd theory that
        restraint can’t kill you if it is applied by law enforcement.”299

Many of the interviewed forensic pathologists linked use of the term “excited
delirium” with maneuvers that could cause asphyxia. Cunningham said “excited
delirium” “may be associated with certain things like chest compression, neck
compression, prone positioning, restraint.”300

Carter said that if cocaine is present, but the person would not have died without
the restraint, “I’d say call it what it is. It’s still a result of restraint asphyxia.”301




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                 “A cause of death that can only happen at the hands of cops
                 is not a pathophysiologic process, but rather a semantic
                 ploy designed to immunize police against scrutiny of deaths
                 occurring during restraint.”
                 Dr. Michael Freeman, forensic epidemiologist and associate
                 professor of forensic medicine, Maastricht University

The interviewed forensic pathologists noted that it is still unknown but likely that
a person exhibiting physical signs attributed to “excited delirium syndrome”
would also have a heightened risk of death by restraint. Freeman described both
the uncertainty and the possibility as follows: “The unknown variable is what that
person’s oxygen needs are at that specific point in time.” A “person most likely to
be adversely affected by restraint” is the “person with highest oxygen needs,
person who is agitated, has been running around screaming.”302 Strote also noted
the possibility of increased risk of death for a restrained person who is agitated
and under stress: “Is it more likely that an ‘excited delirium’ patient would die
than one of the three of us [referring to himself and his PHR interviewers]?” Yes,
he said, “But because they are already in a hyper-adrenergic state. Adrenaline
going. Already a stress on their heart.”303

Mitchell provided an illustrative example to reinforce that predisposing
conditions cannot be used to mitigate the responsibility of the perpetrator for a
death: “We use an example in forensic pathology…. If an 87-year-old woman is
walking down the street, and an assailant puts a gun in her face … and she dies
[of fright], what’s the manner of death? Homicide.” 304


Use of “Excited Delirium” to Exonerate Law Enforcement for
Deaths in Custody
Several physicians noted the prevalence of “excited delirium” as an exculpatory
term for police killings. Freeman said:

        “It is a term that allows us to ignore police use of force, no matter how
        extreme, because we have taken the possibility that the police caused the
        death out of the picture.… A cause of death that can only happen at the
        hands of cops is not a pathophysiologic process, but rather a semantic
        ploy designed to immunize police against scrutiny of deaths occurring
        during restraint.”305

Strote also expressed this view: “At some point, ‘excited delirium’ began to be
used by police officers and pathologists to explain deaths in restraint, which can
spare the officers a potential homicide diagnosis and pathologists the need to
describe a clear cause of death.”306




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Other forensic pathologists highlighted the implications of “excited delirium”
mainly being used as a cause of death for deaths in police custody. As Baden
noted, “If you have a condition or disease, it cannot be due to a boutique, unique
condition that almost always causes a death only during a struggle between police
officers and a civilian.”307



        No National Standards for Death Investigations

        “Right now, there's no federal oversight to medicolegal death investigation
        in [this] country. It is a county-by-county, city-by-city, state-by-state
        construct, and it's a milieu of sheriff-run organizations to politician-run
        organizations to forensic pathologist-run organizations. We need one
        system. Uniformity of practice should be our goal … [ensuring]
        accreditation and oversight of forensic pathology ... and medicolegal
        death investigation.

        “There has been no report [or data] from the Death in Custody Reporting
        Act passed in 2013 … and that’s mandated as law. My solution is ... a
        checkbox on the U.S. standard death certificate … to allow physicians,
        whose job it is to sign a death certificate, to ... identify deaths in custody.
        It’s so critically important for there to be an objective measure of deaths in
        custody, and that needs to happen at the level of the physician, in
        addition to circumstantial data from the law enforcement agency.

        “Then there needs to be death-in-custody fatality reviews. We know as a
        public health construct how to research a problem and then set standards
        in place.... It's time for the public health infrastructure … to define deaths
        in custody as a public health issue.”
        Dr. Roger Mitchell, chair of the department of pathology at Howard
        University


Recommendations for Alternative Responses to People in
Crisis
Many interviewees – physicians, lawyers, mental health experts, and others –
emphasized the need for a different kind of emergency response for individuals in
crisis.

Changes in Police Procedures and Emergency Response Protocols

Some focused on the particulars of police training, such as the need to place
individuals in a recovery position or to avoid prone restraint. According to Strote,
the goal of the emergency response should be “to maximize the best balance of
protection for others and minimizing harm to that person.”308




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                            “It's time for the public health infrastructure … to
                            define deaths in custody as a public health issue.”
                            Dr. Roger Mitchell, chair, department of pathology,
                            Howard University

Melinek also advocated for changes to police procedures: “In many cases, police
officers aren’t taught or aren’t trained that if they do a carotid hold, they can kill
somebody.… During the lectures I was giving, I made a point of saying if the
medical examiner is saying that something you have done has killed the
patient/subject, that is another opportunity to ask: is there something in our
procedures that needs to change?”309

Other interviewees discussed the need for better training and protocols for
dispatchers and other first responders to mobilize appropriate resources beyond
or instead of police to respond to an emergency call. Jack Ryan, a retired captain
from the Providence, Rhode Island police department who now conducts
trainings for law enforcement and policy and procedure audits for law
enforcement agencies, recommended that Emergency Medical Services (EMS)
dispatchers be trained to recognize signs that an individual is experiencing a
health crisis and coordinate a multi-disciplinary response, where the objective is
for the person to receive medical help as soon as possible.310

        “Remember you can restrain somebody on the stretcher to the gurney
        rather than prone on their stomach and holding them down. And many
        times, these EMTs have soft restraints as opposed to some of our hard
        mechanical restraints.”311

He said that for these types of crises, “the plan should be similar. Can we slow
this thing down?.… Let’s get sufficient resources there. Let’s try to diminish the
prolonged struggle. Let’s try to turn them [over] to medical…. We don’t stabilize
by putting a knee on someone’s neck or on someone’s back or crushing their
heads into the ground.” He added, “I do think we should train officers on
symptomology of crisis… But remember that symptomology seems to run across
the board between mental health crisis, sometimes medical crisis, sometimes
drug-induced crisis.”312

Ryan further noted that officers should be trained to avoid putting weight on an
arrestee’s back while they are prone, and once the arrestee is handcuffed, officers
should turn them on their side or sit them upright, to facilitate breathing. Ryan
also stated:

        “I think some of the issues go beyond law enforcement. We know with de-
        institutionalization … law enforcement has become the catchall at the end
        of the day. They say LA County Jail is the largest mental health institution
        in the U.S. I do some audits of jails. It is so disheartening to see the jail


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        stuck with people because there’s no other place for them to go…. I think
        we should have a better system so that all of these folks don’t fall at the
        hands of law enforcement.”313


Medical and Behavioral Health Response Teams and Support Systems

Civil rights attorney Dale Galipo agreed with the need for medical responses to
many requests for help that currently go to law enforcement: “One could argue
when the police encounter someone that they claim is in this ‘excited delirium’
state, that’s a medical emergency, so that person needs medical treatment. That
person doesn’t need force used against them. They don’t need to be held down.
That is the worst thing you can do for someone in a medical emergency.”314

Others emphasized the limits of seeking to improve police training to respond to
mental and behavioral health crises. Civil rights attorney Jim Davy observed,
“The majority of violence and law enforcement-created injuries and civil rights
violations I have seen primarily fall into two categories: someone was trained and
did the thing they were explicitly trained not to do, or they did the thing they
were trained to do, and they were trained to do things that violated people’s civil
rights.” Police officers are not the best positioned to respond to a mental health
crisis, he said. “I think we have responsibility as a society to be doing something
better, different, more responsive.”315

A federal law passed in March 2021 allocated $25 million to states to support
non-law enforcement mobile crisis teams.316 To better understand what such
other models could look like, PHR consulted experts at the National Harm
Reduction Coalition, Treatment Advocacy Center, Crisis Assistance Helping Out
On The Streets (CAHOOTS), and Portland Street Response.

Dr. Kimberly Sue, medical director of the National Harm Reduction Coalition,
offered examples of alternative spaces to support people in substance use crises,
including the new San Francisco Drug Sobering Center and the People’s Harm
Reduction Alliance in Seattle, which provide drop-in spaces for people
experiencing the effects of methamphetamine and other substances.317

Elizabeth Sinclair Hancq, director of research at the Treatment Advocacy Center,
said that the organization’s stance is: “It shouldn’t be the situation where people
are reaching a crisis point, and law enforcement has to intervene.” The goal
should be “building up an adequate support system and mental health treatment
system.”318 As Sabah Muhammad, attorney and legislative and policy counsel at
the Treatment Advocacy Center, noted, in supporting the need for systems to be
in place to prevent crises: “Families with a loved one with untreated mental
illness live with crisis every day.... What is being overlooked is our daily condition
of crisis.”319 A September 2020 Treatment Advocacy Center report found that in
seven states, a person has to pose an “imminent threat” before they can be
involuntarily hospitalized.320 Muhammad spoke about the way that such state


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involuntary commitment statutes force families to call the police to get help for
loved ones with severe mental illness. Changing such laws, she said, would help
empower families to get treatment for their loved ones before their only
remaining option was a potentially life-threatening police encounter.321

Hancq identified three types of crisis response models: Crisis Intervention Teams
(CIT, law-enforcement-based response), co-responder teams (law-enforcement-
based mental health response), and mental health crisis teams (mental-health-
based response).322 Muhammad said of the various models, “All of them are in an
infancy. And they are very state-based. If certain models work in one area of the
country, they don’t necessarily work in another.” She expressed hope that the
more frequently clinicians and social workers are integrated into these models,
the more families can access wraparound services or relationships of trust, and
“something can be established that looks more like long-term treatment…
because when you just sit around and wait for crisis, you are just expecting entire
communities to suffer until they are going to be maimed or die.”323

Muhammad emphasized, “If it does turn into an emergency, police just should
not be first. They can be part of the team if there is a weapon. Someone else with
medical training, crisis training – clinician, doctor, social worker – needs to be
informing police of their next step.”324

She explained, “We’re missing so many opportunities to be reasonable. To tap
into our humanity. To take the time it takes to realize someone is in the middle of
a delusion or hallucination. This is something that should not be done quickly. It
is something that should be done to preserve the life of the person.”325

Tim Black, director of consulting at the White Bird Clinic, which runs the mobile
crisis intervention program CAHOOTS in Eugene, Oregon, emphasized, “Any sort
of mobile crisis system needs to be first informed by community and then
providers.” In the context of limited resources, it is more important for the
community to strengthen the social safety net than to “bring in mobile crisis
teams” because crises are “directly tied to some unmet need.” He added, “It’s
really easy and really popular to talk about mobile crisis [programs] but not
about the resources that are needed … rapid access and connection to those
resources.” Such resources, he said, could include shelter, hygiene, food access,
24-hour mental health resources access, violence interruption, homeless
outreach, street medicine, and harm reduction.326

Black further noted that the White Bird Clinic does not require its crisis workers
to be licensed mental health or health care workers prior to their hiring, which
would create impediments to staffing the positions, especially in smaller
communities. Instead, the clinic is open to recruiting and then training and
credentialing crisis response team members who have a variety of life experiences
and educational backgrounds.327




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Robyn Burek, program manager at Portland Street Response, said she has spoken
to “probably 100 different cities” about their models for mobile crisis response.
“Everybody has a slight variation in how they’re running this. I think that’s
amazing.” She said that the “common thread” that flows through all these models
is the need for funding streams at both the federal and state level to allow
flexibility to have different models.328 Black agreed. “There’s no one prescribed
funding mechanism that works for each community.”329



Legal Framework
U.S. Law

Allowance of “Excited Delirium” as a Diagnosis in U.S. Courts –
Despite No Consensus on its Meaning
A review of legal cases discussing “excited delirium” indicates that the term
appears to be limited to cases involving interactions of individuals with law
enforcement. Despite significant challenges to “excited delirium’s” validity within
the medical community – and the limited context in which it arises – the term
has been admitted in U.S. courts as a legitimate diagnosis, including as a direct
cause of death.330

Given the lack of an underlying description of “excited delirium” in diagnostic
manuals, legal cases have found a clear definition of the term to be elusive.
Consequently, “excited delirium” in a police setting has been considered a
reasonable medical diagnosis for an extremely broad array of signs and
symptoms. It might be described as a state of agitation, excitability, or
paranoia.331 It might include bizarre behavior, confusion, delusions,
hyperactivity, incoherence, or yelling.332 It is often, although not necessarily,
associated with drug use.333 And, ultimately, it is so broadly defined that it might
include the observable manifestation of almost every psychiatric or drug-induced
behavior. Beyond even this, “excited delirium” has been described by courts to
include superhuman strength and imperviousness to pain.334 While this is
generally asserted to be brought on by an underlying history of drug use or
mental illness, it has also been described as being initiated by “physical stress.”335
One court even found excessive “sweating” to be indicative of “excited
delirium.”336


Admission of Expert Testimony on “Excited Delirium”
All courts perform some kind of “gatekeeper” function regarding the admissibility
of expert testimony. At the federal level and in many states, in performing this
“gatekeeper” function, courts make a preliminary assessment of whether the



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expert testimony’s underlying methodology is scientifically valid and can properly
be applied to the facts at issue.337 Important factors that have been considered in
the context of “excited delirium” include whether the theory “has been subjected
to peer review and publication” and whether it has attracted “widespread
acceptance” within a “relevant scientific community.”338

After assessing those factors, courts often admit expert testimony on “excited
delirium” as evidence at trial, finding that arguments against the theory should
go to its persuasiveness as evidence, rather than to its admissibility. In cases in
which plaintiffs have sought to exclude testimony on “excited delirium,” courts
have pointed to three communities that “generally accept” it as a diagnosis: the
American College of Emergency Physicians,339 forensic pathologists and medical
examiners,340 and many police departments, which train their officers to interpret
people’s behavior through a lens that assumes many medical or mental health
conditions are “excited delirium.”341 Admission of “excited delirium” has also
been allowed because “the theory or technique has been published and subjected
to peer review.”342 Finally, courts cite the ACEP white paper.343 One court even
described the paper as resulting from ACEP “consensus” that “excited delirium
syndrome” “is a unique syndrome which may be identified by the presence of a
distinctive group of clinical and behavioral characteristics.”344

Notably, courts have admitted expert testimony on “excited delirium” even while
acknowledging that “excited delirium” is not a validated diagnostic entity in
either the International Classification of Diseases or the Diagnostic and
Statistical Manual of Mental Disorders345 and is not recognized as a medical
diagnosis by the American Medical Association, the American Psychiatric
Association, or the World Health Organization.346

The acceptance of “excited delirium” by U.S. courts underscores the harmful
impact of ACEP’s 2009 white paper, which it has yet to refute. It also
demonstrates the troubling reach of the academic literature on “excited
delirium,” which persists despite its poor quality, homogenous citations, and
embedded conflicts of interest.


Use of “Excited Delirium” as a Defense for Officer Conduct
Given courts’ admission of “excited delirium” theory into evidence, law
enforcement defendants have also used it as a defense in civil rights cases
claiming police brutality or wrongful death. Some courts have used the ever-
broadening defense of qualified immunity to shield law enforcement officers
from accountability for killing people in the course of restraint, based on claims
that the decedent died of “excited delirium.” While in other circumstances an
officer might be viewed as having used excessive force, the force employed may
instead be deemed reasonable when dealing with an individual diagnosed with
“excited delirium,” with its associations of being “impervious to pain” or having
“superhuman” strength.347 Similarly, deaths which might otherwise be attributed



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to asphyxiation as a result of excessive force may instead be explained away as
natural or accidental due to the victim’s “excited delirium.”348


Impact of the Pervasiveness of “Excited Delirium” in Police
Trainings
The pervasiveness of “excited delirium” within law enforcement policies and
training manuals has resulted in a number of lawsuits against police officers for
violating their training and mishandling a person claimed to be in “excited
delirium.” In fact, a number of suits have been brought for not attending to the
unique medical needs posed by “excited delirium.”349 Plaintiffs have even gone so
far as to state that defendant officers should have recognized that the
plaintiff/decedent was experiencing “excited delirium,” including its purported
“imperviousness to pain, great strength, bizarre behavior, aggression, and
hallucinations.”350 By introducing evidence that officers failed to follow trainings
in this manner, plaintiff’s attorneys validate law enforcement protocols on
“excited delirium,” perpetuating the term’s acceptance in courts at the expense of
future victims of police violence.351

There are a number of underlying risks presented by the pervasiveness of
“excited delirium” within law enforcement policies and training manuals.
Myocardial infarctions (heart attacks), drug or substance overdose and
withdrawal, oxygen deprivation, and acute psychosis have all been bundled by
some law enforcement agencies or trainers under the diagnosis of “excited
delirium.” Yet, these might require quite different medical interventions in an
emergency situation, in contrast to the trained responses to “excited delirium.” In
the case of Petro v. Town of West Warwick, for instance, the dispute as to
whether the officers failed to render timely assistance hinged upon whether Mr.
Jackson died from “excited delirium syndrome” or sudden cardiac arrest due to
primary cardiac disease that had been left untreated.352 In Estate of Hezekiah
Harvey v. Roanoke City Sheriff’s Office, the defendants’ expert, the assistant
chief medical officer of West Virginia, concluded that Mr. Harvey “died from
natural causes – excited delirium due to chronic schizophrenia with a
contributing cause of congestive cardiomyopathy.”353 As such, the defense
asserted that it did not matter whether emergency medical personnel had
administered antipsychotic medication to Mr. Harvey, who had schizophrenia.354

When law enforcement officers are not held accountable for their actions based
on a successful defense of “excited delirium,” the justice system is doubly hurt.
Such a defense not only prevents accountability, it does so on the basis of a
diagnosis that has no real medical underpinning. As Physicians for Human
Rights explained in a brief to the United States Supreme Court:

        “A civil action under 42 U.S.C. § 1983 is often the only way for a victim of
        official misconduct to vindicate … federally guaranteed rights. But
        qualified immunity often bars even those plaintiffs who can prove their
        case from remedying a wrong: harm, but no foul. Qualified immunity thus


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        enables public officials who violate federal law to sidestep their legal
        obligations to the victims of their misconduct.”355

Indeed, the widespread belief in the existence of “excited delirium” among both
law enforcement and the courts has resulted in a perverse paradox: a lack of
accountability for police misconduct based on a medically nonexistent
explanation for that conduct.

Finally, law enforcement agencies that train their officers on “excited delirium”
are doing a disservice to their officers. The agencies are implicitly requiring the
officers to diagnose a person’s condition, which is not their role. Officers who
have concerns about the health status of a person they encounter should instead
call for medical back-up.


International Human Rights Law
The United States is also bound by international human rights law, as are the
countries to which the term “excited delirium” has spread – Australia, Canada,
and the United Kingdom, among others. International law includes important
standards related to the multiple contexts in which the term is used, addressing
protection from excessive and potentially lethal force; protection from
discrimination based on race or disability in encounters with law enforcement;
protection from discrimination in accessing treatment for mental health or
substance use disorder crises; the necessity of thorough, prompt, and impartial
investigations of deaths in law enforcement custody; and the right to an effective
remedy.


Right to Life and Protection from Excessive Force by Law
Enforcement
The right to life is guaranteed by Article 3 of the Universal Declaration of Human
Rights (UDHR)356 and Article 6 of the International Covenant on Civil and
Political Rights (ICCPR), which the United States has ratified and is bound to
uphold.357 All are entitled to equal protection of this right without discrimination,
according to Article 7 of the UDHR and Article 26 of the ICCPR.358

People of color and people with disabilities, including mental illness or substance
use disorders, have the right to protection from discrimination in encounters
with law enforcement. Article 5 of the International Convention on the
Elimination of All Forms of Racial Discrimination (ICERD), to which the United
States is also a party, guarantees “without distinction as to race, colour, or
national or ethnic origin … The right to security of person and protection by the
State against violence or bodily harm, whether inflicted by government officials
or by any individual group or institution.”359 Article 10 of the Convention on the
Rights of Persons with Disabilities (CRPD) states, “States Parties reaffirm that
every human being has the inherent right to life and shall take all necessary



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measures to ensure its effective enjoyment by persons with disabilities on an
equal basis with others.”360

General Comment No. 36 of the Human Rights Committee, the treaty body that
oversees implementation of the ICCPR, states, “The use of potentially lethal force
for law enforcement purposes is an extreme measure that should be resorted to
only when strictly necessary in order to protect life or prevent serious injury from
an imminent threat.”361

The United Nations Basic Principles on the Use of Force and Firearms by Law
Enforcement Officials (1990)362 stipulate that law enforcement agencies should
adopt rules and regulations for the use of force within the following parameters:

•   The use of force must be minimized, targeted, proportional, and directed at
    de-escalating violence.
•   The use of “less-lethal” incapacitating weapons must be carefully controlled.
•   Restraint must be shown in all use of force by law enforcement agents, with a
    view to minimizing injury and loss of life.

The Basic Principles further state that when the lawful use of force is
unavoidable, law enforcement officials should ensure that assistance and medical
aid are rendered to any injured or affected persons at the earliest possible
moment.363 Additionally, “Governments shall ensure that arbitrary or abusive use
of force and firearms by law enforcement officials is punished as a criminal
offence under their law.”364


Right to Health
Article 12 of the International Covenant on Economic, Social and Cultural Rights
(ICESCR) guarantees “the right of everyone to the enjoyment of the highest
attainable standard of physical and mental health.”365 The UN Principles for the
Protection of Persons with Mental Illness and the Improvement of Mental Health
Care further state, “All persons with a mental illness, or who are being treated as
such persons, shall be treated with humanity and respect for the inherent dignity
of the human person.”366

Article 5 of ICERD prohibits racial discrimination regarding the right to medical
care.367 Article 25 of the CRPD states that people with disabilities “have the right
to the enjoyment of the highest attainable standard of health without
discrimination on the basis of disability.”368


International Standards for Death Investigations and the Right
to a Remedy
According to the UN Principles on the Effective Prevention and Investigation of
Extra-legal, Arbitrary and Summary Executions:


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        “Governments shall prohibit by law all extra-legal, arbitrary and summary
        executions.… Such executions shall not be carried out under any
        circumstances including … situations in which deaths occur in custody.…
        There shall be thorough, prompt and impartial investigation of all
        suspected cases of extra-legal, arbitrary and summary executions,
        including cases where complaints by relatives or other reliable reports
        suggest unnatural death in the above circumstances.”369

The UN Manual on the Effective Prevention and Investigation of Extra-Legal,
Arbitrary and Summary Executions, commonly known as the Minnesota Protocol
and most recently revised in 2016,370 sets international standards for the
investigation of potentially unlawful deaths, including deaths in custody. It
states:

        “To discharge these responsibilities properly, forensic doctors, including
        forensic pathologists, must act independently and impartially. Whether or
        not they are employed by the police or the State, forensic doctors must
        understand clearly their obligations to justice (not to the police or the
        State) and to the relatives of the deceased, so that a true account is
        provided of the cause of death and the circumstances surrounding the
        death.”371

The right to an effective remedy for a violation of the right to life, including the
right to judicial remedies, is guaranteed by the UDHR (Article 8), ICCPR (Article
2), ICERD (Article 6), and other international treaties and declarations.372


How the Use of “Excited Delirium” in Law Enforcement
Protocols, Death Investigations, and Courts Violates
International Law
As described above, the term “excited delirium” informs law enforcement
responses to people experiencing an array of mental health and substance use
disorder crises, as well as other medical emergencies. It is also used by forensic
pathologists to explain deaths in law enforcement custody, disproportionately
those of Black men, and has absolved officers from liability in both criminal and
civil cases.

Some of the purported signs of “excited delirium” that law enforcement officers
are trained to recognize (“superhuman strength” and “imperviousness to pain”)
increase the risk that an officer will employ excessive or lethal force, violating
human rights standards on the use of force or, indeed, the right to life itself.
These same terms also put Black people and other people of color – in the United
States and around the world – at greater risk of harm, given that they exploit
racist tropes and perpetuate discrimination against people of color in law




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                            The allowance of “excited delirium” in courts as a
                            defense for officers’ use of lethal force or as an
                            explanation for deaths in custody may foreclose – and
                            has foreclosed – avenues for criminal prosecution or
                            civil liability, violating a core principle of international
                            law: the right to an effective remedy.

enforcement settings. Continued reliance on “excited delirium” thus violates
international legal protections from racial discrimination.

People with mental illnesses or substance use disorders also face
disproportionate risk of harm – in violation of protections from discrimination
based on disability – given that their behavior may overlap with purported signs
of “excited delirium.” For someone experiencing a medical emergency, an
officer’s belief that the person is experiencing “excited delirium” could also mean
denial of access to appropriate medical care – a potential violation of the right to
health – and likely a violation of the right to non-discrimination on the basis of
race or disability.

The term “excited delirium” is also used by forensic pathologists, medical
examiners, and coroners to explain deaths in law enforcement custody, again
disproportionately those of Black men. Continued use and acceptance of the term
as a cause of death too often impedes a thorough, prompt, and impartial
investigation of the death, given that the investigation may end prematurely
when “excited delirium” is held to be the cause.

Finally, the allowance of “excited delirium” in courts as a defense for officers’ use
of lethal force or as an explanation for deaths in custody may foreclose – and has
foreclosed – avenues for criminal prosecution or civil liability, violating a core
principle of international law: the right to an effective remedy. Black men are also
more likely to have this core right infringed.



Conclusion
“Excited delirium” is not a valid, independent medical diagnosis. There is no
clear or consistent definition, established etiology, or agreed upon underlying
pathophysiology. As a result, there are no diagnostic standards for “excited
delirium.” In general, there is a lack of scientific data, and even the body of
literature that mentions “excited delirium” is small and largely written by
individuals with rarely disclosed conflicts of interest. Because “excited delirium”
is not a valid diagnosis, it should not be used as a cause of death.

The term “excited delirium” cannot be disentangled from its racist and
unscientific origins. In the 1980s, “excited delirium” was defined as hyperactive
delirium, with aggressive behaviors, and associated with cocaine intoxication. A


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                                     Interviewed forensic experts described an
                                     alarming pattern of pressure from
                                     TASER/Axon when forensic pathologists
                                     and/or medical examiners describe law
                                     enforcement tactics as contributing to the
                                     cause of death.

few years later, Dr. Charles Wetli extended his theory of sudden death from
cocaine intoxication to explain the deaths of more than 12 Black women in Miami
who, along with at least seven others who were found dead during the same
period, were later found to have been murdered by a serial killer. Wetli’s grave
professional error – and the racism and misogyny that seemed to inform it –
should have soundly discredited “excited delirium” as a cause of death at the
time, but instead its use grew.

Moreover, the diagnosis of “excited delirium” has been primarily applied to
deaths occurring during encounters with law enforcement. If any other medical
condition were only or even mostly occurring in a particular environment or
context, a scientific approach would require interrogation of that environment as
a contributing or causative factor – in this case, police custody.

PHR’s review of the literature and interviews with forensic medical and legal
experts found that when the diagnosis of “excited delirium” has been advanced, it
has almost always been by law enforcement and law-enforcement-affiliated
organizations, such as TASER International (Axon Enterprise). To the extent that
the diagnosis has been raised in the literature by physicians and scientists, they
have often been paid by TASER/Axon or law enforcement agencies defending
lawsuits arising out of a death, without disclosing these relationships.
Interviewed forensic experts also described an alarming pattern of pressure from
TASER/Axon when forensic pathologists and/or medical examiners describe law
enforcement tactics as contributing to the cause of death.

A diagnosis of “excited delirium” also yields no actionable steps toward what
treatment an individual might need. For a diagnostic system to establish itself as
scientifically useful, the system itself must be created from reliable and valid
definitions and criteria. In the case of "excited delirium," this label certainly does
not aid in treatment and has not invited or welcomed research that may better
define it or aid in diagnosis, research, or treatment. That a person experiencing
agitation, mental illness, or intoxication would need to be restrained, beaten, or
choked rather than first treated medically is contrary to medical standards.

People presenting with agitation, confusion, rapid breathing, elevated heart rate,
or sweats have an underlying diagnosis. Their signs and symptoms should be
named as they are, and the underlying condition should be found and treated
medically. Law enforcement should acknowledge that restraint asphyxia is highly
possible, if not the most probable cause of death, and, consequently, law




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enforcement officials should make every effort not to put a person in a prone
restraint or neck restraint.


PHR is concerned that the unscientific diagnosis of “excited delirium” has been
used repeatedly over decades to mask deaths caused by inappropriate and often
violent law enforcement responses to medical or mental health crises, and to
exonerate perpetrators or cover up homicides.

“Excited delirium” is a descriptive term, not a medical diagnosis, and should not
be used as a cause of death. PHR has concluded that it is essential to end the use
of “excited delirium” as an officially determined cause of death in cases of deaths
in police custody or in any other case. This is one critical step among many to
stop these preventable deaths, which have to be acknowledged for what they are
before a remedy can be found.



                           PHR is concerned that the unscientific diagnosis
                           of “excited delirium” has been used repeatedly
                           over decades to mask deaths caused by
                           inappropriate and often violent law enforcement
                           responses to medical or mental health crises, and
                           to exonerate perpetrators or cover up homicides.


Recommendations
To the American College of Emergency Physicians
(ACEP):
    •   Revise position on “excited delirium” based on the evidence, recognizing
        that it is not a valid medical diagnosis and cannot be a cause of death;
        o Note the racist origins and usage of “excited delirium” and the need
            for further study of racial disparities in its application;
    •   Rescind all previous white papers that support “excited delirium” as a
        distinct entity separate from other forms of delirium; and
        o Be transparent about conflicts of interest in previous position
            statements; implement clear policies on minimizing or eliminating
            conflicts of interest in future statements.

To the National Association of Medical Examiners
(NAME):
    •   Issue a statement on “excited delirium” based on the evidence,
        recognizing that it is not a valid medical diagnosis and cannot be a cause
        of death;



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        o   Note the racist origins and usage of “excited delirium” and the need
            for further study of racial disparities in its application; and
    •   Conduct an investigation into structural, political, and other factors
        affecting the independence of medical examiners when investigating
        deaths in law enforcement custody, and report the findings publicly.

To Individual Medical Examiners, Forensic
Pathologists, and Coroners:
    •   Ensure that “excited delirium” is not used as either a sole or a
        contributing cause in death certification.

To Other Medical and Health Professional Associations:
    •   Study how the involvement of law enforcement in the health context
        impacts the relationship between patient and health care provider; seek
        stakeholder input; and
    •   Establish best practices for communicating with families regarding
        injuries or deaths of loved ones in law enforcement custody.

To State and Local Governments:
    •   Address current use of the term “excited delirium:”
        o Instruct state attorneys general to review the use of the term “excited
            delirium” in all instances by police and correctional services to
            understand how and when it is applied;
        o Call on police associations and first responders to stop disseminating
            “excited delirium” protocols and collect data on how the term has
            been applied, including racial disparities in its use;
    •   Improve official responses to people experiencing mental and behavioral
        health challenges:
        o Bolster resources and social services to address community needs,
            including mental health and harm reduction;
        o Take steps to ensure that medically trained professionals are the
            primary responders and decision-makers in the management of acute
            medical emergencies, including mental health and substance use
            disorder crises;
        o Invest in alternative models of mental and behavioral health crisis
            response, led by health professionals and/or social workers, rather
            than law enforcement;
    •   Enact changes that strengthen oversight and independence of death
        investigations:
        o Strengthen qualifications and training for medical examiners, forensic
            pathologists, and coroners;
        o Strengthen institutional protections to ensure the independence of
            medical examiners, forensic pathologists, and coroners from law
            enforcement;




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          o   Establish independent oversight systems and mandate independent
              investigations of deaths in law enforcement custody;
          o If a death is indicated on the death certificate as a death in custody,
              institute rigorous death-in-custody fatality reviews with explicit
              guidelines;
    •     Ban the use of neck restraint and weighted or prolonged prone restraint
          by law enforcement; and
    •     Fund studies on how the involvement of law enforcement in the health
          context impacts the relationship between patient and health care
          provider.


To the Biden Administration:
    •     Enforce the Death in Custody Reporting Act of 2013 (Pub. L. No. 113-242)
          that requires law enforcement agencies to report to the Attorney General
          annually on all deaths in custody within their jurisdiction;
    •     Enforce the 21st Century Cures Act by requiring the Department of
          Justice (DOJ) and others to regularly collect and report data related to
          law enforcement encounters and mental illness;1
    •     Establish national standards across all federal law enforcement agencies
          for clear procedures in death investigations in federal custody;
    •     Work with Congress, and state and local governments, to unify national
          standards for investigations of deaths in custody, including well-
          supported independent accreditation, investigatory, and oversight
          mechanisms; and
    •     Establish a unit within the DOJ to investigate all deaths in custody.

To Congress:
    •     Exercise Congress’s oversight authority in the following ways:
          o Investigate the history and use of “excited delirium” in various
             jurisdictions across the United States in the context of deaths in police
             custody, systemic racism, and the pursuit of justice and
             accountability;
          o Call on the DOJ to enforce the Death in Custody Reporting Act of
             2013, which requires law enforcement agencies to report to the
             Attorney General annually on all deaths in custody within their
             jurisdiction;
          o Call on the DOJ to enforce the 21st Century Cures Act, which requires
             the DOJ and others to regularly collect and report data related to law
             enforcement encounters and mental illness;2
          o Develop mechanisms for oversight and tracking of any aggressive
             tactics used to subjugate or control people in police custody;
    •     Pass legislation that seeks to direct national standards toward:


1 We thank the Treatment Advocacy Center for its leadership on this.
2 Ibid.




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          o   Quality assurance, and clear required procedures for death
              investigations and for documenting police violence on death
              certificates; and
          o Banning the use of neck restraint and weighted or prolonged prone
              restraint by law enforcement;
    •     Allocate funding for:
          o A mandated national database tracking law enforcement use of force,
              including data on mental illness, race, and ethnicity;3
          o New or expanded non-law-enforcement emergency mental health
              services and social services response programs on the state and local
              levels; and
          o Studies on how the involvement of law enforcement in the health
              context impacts the relationship between patient and health care
              provider.

To the U.S. Centers for Disease Control and
Prevention:
    •     Add a required checkbox on the U.S. standard death certificate to enable
          physicians to report deaths in custody;4 and
    •     Undertake a review of deaths in custody as a matter of racial and other
          disparities in health, including deaths in which the term “excited
          delirium” was applied to describe the circumstances of death. In this
          review, analyze the demographics of the people to whom this term is
          applied, as well as the common situations in which it is invoked.

To UN Human Rights Mechanisms, including the
Independent Expert Mechanism on Systemic Racism in
Law Enforcement:
    •     As a function of state reporting and international oversight, study and
          report on the use of “excited delirium” worldwide to trace the geographic
          scope of the term’s use as an explanation for deaths in custody and its
          implications for human rights.




3 Ibid.
4 This recommendation was suggested to PHR by Dr. Roger Mitchell, chair of the

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  Sept. 11, 2019, https://www.fda.gov/about-fda/center-drug-evaluation-and-research-
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  Julia Sherwin subpoenaed all IRB materials related to all of Vilke et al. prone restraint
  studies from UCSD. The University produced IRB information for the earlier studies
  involving 25 pounds and 50 pounds but not for the study with 225 pounds. UCSD had no
  IRB documents or approval for the more recent study titled “Ventilatory and Metabolic
  Demands During Aggressive Physical Restraint in Healthy Adults,” nor did UCSD have
  IRB Committee meeting minutes from when the study was considered. Sherwin then
  subpoenaed all evidence or documents concerning IRB applications or approvals, even
  including correspondence and emails, for the 225-pound study from all authors of the
  study; these subpoenas produced nothing.
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120 Deposition of Vincent J.M. Di Maio, M.D. at 159:19-21, Harrison v. County of Alameda,

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          medical examiners, right?
          A. Yes. That's great.
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127 In a 2018 deposition, Peters said, “On the consulting side I got paid from time to time

  retained by independent counsel on Taser associated death cases. And I probably did 15



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  or 20 of those over the course of six years. So using a flat rate approach of $7,500, that
  would be an approximate ballpark. Now whether those checks came directly from TASER
  or it came from counsel like you that TASER might have retained, that varied.”
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  affirmatively asserted that excited delirium is a scientifically valid condition. … Fifty-four



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  cases included this type of discussion [concerning whether or not law enforcement acted
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  where excited delirium was discussed in a manner that favored the police in twenty-three
  (almost half) of these cases. … there are twenty-two rulings in the sample where the court
  said that the presence of excited delirium requires an arresting officer to use more care or
  less force. … Thirty-seven cases in the sample that we reviewed involved claims regarding
  the deliberate indifference to medical need, in which thirty-three (89.1%) resulted in one
  or more defendants being found not liable.” He said his study, “highlights the malleable
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  2021 WL 4472550, at *2 (S.D. Ind. Oct. 7, 2021).
347 See, e.g., Callwood vs. Jones et. al., 727 F. App'x at 556.
348 Peppers v. Washington County, Tenn., 686 Fed. App’x. 328 (6th Cir. 2017); V. W. v.

  Nichelini, 2017 WL 34246 (E.D. CA Feb. 2, 2017); Pirolozzi v. Stanbro, F. Supp. 2d, 2009
  U.S. Dist. LEXIS 42575, 2009 WL 1441070 (N.D. Ohio Mar. 13, 2009). See also Marquez
  v. City of Phoenix, 693 F.3d 1167 (9th Cir. 2012); Gregory v. County of Maui, 414 F.
  Supp. 2d 965 (D. Haw. 2006).
349 See Mann v. Taser, 588 F.3d 1291; Davidson v. City of Statesville, 2012 WL 1441406;

  Cook v. Bastin, 590 F. App’x 523 (6th Cir. 2014); Mingo v. City of Mobile, 592 F. App'x
  793 (11th Cir. 2014).



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350 Hoyt v. Cooks, et al., 672 F.3d at 976.
351 A recent example is Estate of Aguirre v. City of San Antonio, 995 F.3d 395 (5th Cir.

  2021). In Aguirre, the decedent was handcuffed and not resisting as officers forced him
  into a prone position with his legs crossed and pressed against his buttocks, similar to a
  hog-tie. Officers then put their weight on Mr. Aguirre’s back, buttocks, and neck for five
  and a half minutes until they noticed he had stopped breathing. One officer even noted
  that Mr. Aguirre’s lips turned blue, raising concern for hypoxia, and she decided it was
  because of drugs he was suspected of having consumed. 995 F.3d at 403-404. The
  autopsy found that Mr. Aguirre died of asphyxiation “[d]ue to the restraint by police,” and
  his death was classified as a homicide. 995 F.3d AT 404. The plaintiffs in Aguirre then
  introduced “excited delirium” into the case, criticizing the defendant officers for not
  following their training and properly managing the decedent’s claimed “excited delirium.”
  995 F.3d AT 404. The district court granted qualified immunity to the officers on the
  plaintiff’s claims against them and also dismissed the claim against the city for
  constitutionally inadequate training. Ibid. The Fifth Circuit Court of Appeals reversed the
  grant of qualified immunity, but extensively relied on the “excited delirium” evidence
  submitted by the plaintiff, adding credence to this unscientific theory. Ibid. At 405, 413 n
  10.
352 Petro v. Town of West Warwick, 889 F. Supp. 2d 292 (D.R.I. 2012).
353 Estate of Hezekiah Harvey v. Roanoke City Sheriff’s Office, 2007 BL 184012, at *5

  (W.D. Va. Feb. 23, 2007).
354 Ibid.
355 Brief of Cross-Ideological Groups Dedicated to Ensuring the Public’s Trust in Law

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  5, Taylor v. Riojas, 141 S. Ct. 52 (2020),
  https://www.supremecourt.gov/DocketPDF/19/19-
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359 United Nations, “International Convention on the Elimination of All Forms of Racial

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  47, art. 5, U.N. Doc. A/6014, 660 U.N.T.S. 195, (1966), entered into force Jan. 4, 1969,
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